Case 4:17-cV-03877 Document 10 Filed in TXSD on 02/01/18 Page 1 of 67

KAMME O V. TEXAS A&M UNIVERSITY and SYSTEM 4:]_7-CV-O3877

 

1. PLA|NT|FF’S RESPONSE TO Document 7......... ................................................................ 1 page
2. PLA|NT|FF'S APPEAL FOR COURT APPO|NTED LEGAL REPRESENTAT|ON ................. 8 pages
3. Lawyer Decline Notifications ......................................................................................... 11 pages
4. EHs email - MoNch HARTMAN ...................................................................................... 1 page FEB 0 j 20 18
5. Evidence of Discrimination, Certifications v. Younger Ma|e ....................................... 2 pages-,__HWVM€M qérk°i
6. Evidence of FALSE |NSPECT|ON DATES @ TAMU EHS .................................................. 1 page
7. BACKDATED First Report of injury ................................................................................... 1 page
8. Emai|: To SUSAN KARL|, ”cou|d be just age" neck injury ............................................ 2 pages

. 9. Emai|: Ju|y 14, 2015 - WORKERS COMP DEN|ED ......................................................... 2 pages
10. Emai|: Ju|y 16, 2015-2"d Request for Physician's Certii“lcation for FMLA ................... 1 page
11. Juiy 17, 2015 - Partia| Transcript of VACAT|ON SUSPENDED meeting ..................... 5 pages
12. Ju|y 24, 2015 -TAMU HR PPR emai|: FMLA plan for ”unexcused absence” ............ 2 pages
13. August 13, 2015 - Emai|: To V.P. of Finance - ”FIREHOUSE issues" page on ............ 1 page
14. November 2015 COIV|PLA|NT - Eyewash Shower inspections YEARS BEH|ND ....... 8 pages
15. VACAT|ON SUSPENS|ON v. ”progress shown on recent reports" ............................... 1 page
16. October 20, 2015: Position Titie Changed Nlay 1, 2015 ............................................... 1 page
17. Response to TAMU EHS i\/|emorandum ........................................................................ 8 pages
18. FIRE SAFETY PRESENTAT|ON survey comments about KammeO ................................ 1 page
19. November 20, 2015 Gmai|, DAY OF the Verba| Assau|t by SWAT| KALE ..................... 1 page
20. December 4, 2015 emai| to TAMU PPR: ”Afraid to go in there, help?" .................. 2 pages
21.' January 5, 2016 EXTENS|ON of |NVEST|GATlON - (NO OUTCOME to P|aintiff) ........ 1 page
22. COVERLE`iTER to Job App|ication at TAMU EHS 2013 ................................................... 1 page
23. Unanswered emai| to Supervisor R|CHARD FEGAN ...................................................... 2 pages
24. Unanswered emai| to EHS Director JOHN SALSMAN .................................................... 1 page
25. January 29, 2016 Termination Letter, 47 workdays after COMPLA|NT of Eyewash Shower

inspections YEARS BEH|ND ................................................................................................. 1 page

Case 4:17-cV-03877 Document 10 Filed in TXSD on 02/01/18 Page 2 of 67

   

IN THE UNITED sTATEs DISTRICT COURT mgmmsm;§ cows
FOR THE soUTHERN DISTRICT OF TEXAS . -` e"" ?='fi'e'ii°"°"“*
HOUSTON DIVISION c
v FLB U 1 291\§
KAMME 0 -
§ M*-'-'WW» ¢IM'"
Plaintiff, ' ‘“' " ' §
§ ?as
§
V §
' § CIVIL AcTIoN No. 4:17-cv_03877
§ am
TEXAS A&-,M UNIVERSITY §
and System §
Defendant. §

PLAINTIFF’S RESPONSE TO Document 7, Filed in TXSD on 01 / 22 / 182

1. December 14, 2017 Plaintiff filed an “APPLICATION to Proceed in Forma

Pauperis”, (4:17-mc-03315) (There is only one Complaint submitted)

a. One set of 54 +/~ pages is what Plajntiff sent TXS Court 12/12/2017,

accepted 12/14/2017, entered 12/18/2017 = 4:17-mc-0331_5.

_ b. 12/26/2017 = CASE FILED 4:17-cv-O3877

2. Dr. Joni E. Baker, Director of Equal Opportunity and Diversity for Texas A&M

System is the CONTACT LISTED on the EEOC Complaint 31C-2015-01426, 90

day Right'to Sue letter:

On behalf of the Comm|ssion

M)”

Rayford O. irvin,
Distric! Director

Enclosures(s)

Lowe|| Keig, Execu!ive Director
1WC l Civi| Righ¢ Division

101 E. 151h Street, Room 144-T
Austin, TX 78778

m Joni E. Baker

Dlre¢:{orl Equa| Opportunliy 5 D|versity

TEXAS A 81 M UNlVERSlTY

301 Tarrow St., John B. Connally B|dg., Room SOSA
Co||ege Statlon. TX 77840

JANUARY 26, 2018 4:17-CV-O3877

SEP 2 1 2017

(Daia Mailed)

Case 4:17-cV-03877 Document 10 Filed in TXSD on 02/01/18 Page 3 of 67

AggieCamenterMom@gmail.com 4: 1 7 -cV40387 7

1

IN THE UNITED STATES DISTRICT COURT ¢.,@
` §m§§¢
FOR 'I'HE SOUTHERN DISTRICT O`F TEXAS Sou&t)li\¥geha?=l$\t_f%°{“i%i”
HOUSTON DIVISION

;:;.;@ 01 2013

KAMME 0, § 7 m

§ mda.€radley,€larkoi&om€,
Plaintiff, § W

§
VS. § CIVIL ACTION NO.17-3877

§
TEXAS A&M UNIVERSITY and §
System §

§
Defendant. §

PLAINTIFF'S APPEAL FOR COURT APPOINTED
LEGAL REPRESENTATION:

 

1. Plaintiff Respectfully appeals the Court’s ORDER to
DENY Court Appointed Legal Representation and requests
the COURT reconsider as to guarantee the Plaintiff her

right to DUE PROCESS against a STATE UNIVERSITY of

 

TEXAS, as she has had no experience as an attorney and

the case is both lengthy and complicated.

2.P1aintiff qualifies as in Fbrma Paqperis l -
Employment Lawyers appear to advertise that they

defend “Executives”.

3. Plaintiff has contacted an excessive amount of Law
§§£E§ in the Continental U.S.A. via telephone, email,
Twitter, AVVO.cOm, Facebook, the ACLU, the NWLC, Lone
Star Legal Aid, Peckham-Martin, Attorney Bryan E.
Wilson, Daiclaw.com, Bush-Law, Baron and Bud, Azalaw,
Ellwanger Law, Kennard Law, Vagnini Law Firm,

Scharfman Law, Leichter, Welscher, Fiddler &

Case 4:17-cV-03877 Document 10 Filed in TXSD on 02/01/18 Page 4 of 67

AggieCarpenterMom@gmail. corn 4: 1 7-cV-038'77

Associates, Armstrong Law, HLRS.org, NWLC.org, Lazars,
Spencer & Scott Law, Warren & Zurick, Devadoss Law,
EEOCAdvocates.com, Attorney Peter Costeal, Poerschke
Law Firm, Murphy Law Practice, Shane A. McCellan,
ROSSLAWGROUP.com, Watson Law Firm, Payne Law Group,
TXLAWHELP.org, Baylor.edu professor, Attorney Stewart
Campbell, Attorney Mahoney, Kilgore & Kilgore,
Coane.com, ACLU.org, LAPIDUS & KNUDSEN, Cohen &
Associates, Filteau & Sullivan, Bush-Law, Vas
Manthose, AzaLaw, Attorney Bryan E. Wilson, Wayne
Rife, BRUCHEZ.coni and that’s not all of thenl - but

it’S what 1 have written down in my calendar.

4.Defendant’s responses to the EEOC complaint 31C-2015-
01426 is mostly the omission of facts & documents,

conjecture and misrepresentation of the Plaintiff.

5.CONFLICT of INTEREST: Vice President of TAMU Finance,
Jerry Strawser was listed as management for both TAMU
Human Resources and the department where the Plaintiff
was employed - Environmental Health & Safety.

a) The final decision of every written
complaint submitted by the Plaintiff was
signed off on by the V.P. of Finance as “no
valid evidence”.

b) OPEN RECORDS doesn’t have to release
documents if the investigation found “no
valid evidence”, according to the GOVT CODE.

c) After the Plaintiff was terminated from her
23+ years of employment at TAMU - Human
Resources was RESTRUCTURED to be directly

Case 4:17-cV-03877 Document 10 Filed in TXSD on 02/01/18 Page 5 of 67

Ag,q_ieCarpenterl\/lom@gmail.com 4: 1 7-cv-03877

under the PRESIDENT of TEXAS A&M UNIVERSITY>,
effective August 1, 2016.

6. TAMU Human Resources Policy & Practice Review violated

Policy, encouraging RETALIATION by taking 67 working

days to answer the Plaintiff’s initial written

 

complaint received April 27, 2015'.
a. First Complaint by the Plaintiff was not answered

until July 31, 2015.

 

2.5 If additional time is needed to complete the investigation, an ~ " f v - - ~ "
, _ , nay be allotted to P&PR with appioval from the AVP
HRAS. Notiflcation of the extension Will be sent to the complainant
complainant’s supervisor and department/unit head and the respondent,
'respondent’ s supervisor and respondent’ s department/unit head. The extension

 
 

 

circumstances

7. TAMU PPR letters were vague and misleading - omitting
dates and details of which Complaint was being
answered. TAMU PPR combined COMPLAINTS of on-going
RETALIATION with the original 04-26-2015 Complaint of
DISCRIMINATION.

a. TAMU PPR Sheri Yetter had met with the Plaintiff
January 3, 2014 - the discrimination situation
was not new-news to those assigned to investigate
it. Plaintiff believes that the RESTRUCTURE of
the department of Environmental Health & Safety
was at least in part to protect JAMES RAINER, who

 

TAMU EHS had been using & rewarding for
discriminating against the Plaintiff since 1999,
when he hired her to inspect the female resident

hall rooms .

Case 4:17-cV-03877 Document 10 Filed in TXSD on 02/01/18 Page 6 of 67

8.

lO.

AggieCarpenterMorn@gmail. corn 4: l 7 -cV-03877

Plaintiff has audio of witnessed. meetings 2015-2016

`and can prove that at no time did she yell at anyone.

.Plaintiff believes that the Defendant refusing to

promote her after the 2007 meeting with the TAMU
Environmental Health & Safety Director CHRIS MEYER is
RETALITORY in nature, to keep her position “HOURLY”,
to be able to create a hostile work environment:
a.There was/is not time CLOCK.
1>.§Epervisors APPROVED the bi-weekly TIMESHEETS.
c.All TIMESHEETS for the Plaintiff list her as
TIMELY.
d.“late to work” was first and generally only
mentioned at annual evaluations; used to limit

training & % raises.

Plaintiff never gave any presentation mentioning

“sex with her boyfriend” as is written in the EEOC
witness statement, as JAMES RAlNER.

a.Plaintiff actually successfully presented FIRE

SAFETY 2010-2013. She was never told WHY she was

not allowed to continue giving the Fire Safety

presentations in late 2013. She even asked during

the 2013-2014 evaluation by JAMES RAINER why EHS

 

 

stopped allowing her to give the SAFETY

 

PRESENTATIONS? And he only fidgeted an answer
about “they wanted to shorten the presentation”.
b.Plaintiff gave the Fire Safety presentation 2010-

2013, until the Plaintiff’S POSITION DESCRIPTION
actually included “giving presentations”.
c. Plaintiff volunteered to accept the

responsibility of giving the Fire Safety

4

Case 4:17-cV-03877 Document 10 Filed in TXSD on 02/01/18 Page 7 of 67
AggieCarpenterMom@gmail.com 4: 17-cv-0387 7

presentations when her supervisor JOHN FELLERS
vacated the position 2010.

a) EHS later gave the promotion to RICHARD
FEGAN (no Res-Life inspection experience),
but Plaintiff continued to present Fire
Safety because the survey reviews by the

audience were so POSITIVE.

 

11. Plaintiff’s first report of injury 03-27-2015 was
back-dated and then denied by WORKER's COMP.

 

12. Plaintiff was told injury was “probably just
age”, April 2015 by SUSAN KARLI.

13. Plaintiff was offered FMLA numerous times 2015:

 

a. By email, in office mailbox, by voicemail, by
meeting with SUSAN KARLI and then also by a
meeting with EHS Director CHRISTINA ROBERTSON,
witnessed by SWATI KALE.

tx At no time did the Plaintiff request FMLA and
refused signing each time it was told to her “we
are just trying to make sure you get the benefits

you deserve”.

14. TAMU intended to terminate the Plaintiff’s

 

employment for previous unrelated doctor appointments

 

that she took regularly for type II diabetes - had she
signed the documents for FMLA.

15. Use of vacation was suspended in attempt to force

Plaintiff to use FMLA.

 

Case 4:17-cV-03877 Document 10 Filed in TXSD on 02/01/18 Page 8 of 67
AQQieCarpenterMom@gmail.com 4:17-cv-03877

a.MEN who were YEARS behind on eye-wash shower
inspections were not suspended from using¢jheir
vacation time. (same supervisor)

b. Plaintiff used vacation leave to rest injured
neck after the Worker’s Comp was denied. Not
enough emotional energy to keep track of both

documentation processes. Neck still hurts.

16. Plaintiff had current CERTIFICAITONS of

 

Pyrotechnics and Flame Effects from 2005-2016 that
went completely' unused. While the younger' male that

 

JAMES RAINER mentored was listed online as the person
to contact for a BURN PERMIT. Plaintiff was the only
person who had those Certifications, but JAMES RAINER
refused to have anything to do with the Plaintiff and
TAMU EHS rewarded him for it year after year after
year with promotions, raises and by continuing to shun

the Plaintiff.

17. November 20, 2015 SWATI KALE, the Plaintiff’s

 

supervisor since summer of 2015, stood yelling &

 

beating her fist on the desk at the Plaintiff for over

 

an hour while the employees in the EHS office stood in

the hallway listening. SWATI KALE yelled at the

 

Plaintiff, “GO AHEAD, I DARE YOU, I DARE YOU TO FILE
ANOTHER COMPLAINT WITH HR!”

 

18. TAMU listened to the audio of the Plaintiff’s
supervisor yelling and threatening her during that

November 2015 meeting JANUARY 4, 2016, BEFORE the

 

Case 4:17-cV-03877 Document 10 Filed in TXSD on 02/01/18 Page 9 of 67

AggieCarpenterMom@gmail.com 4: 1 7 -cv~03877

Plaintiff was wrongfully terminated JANUARY 29, 2016

for “work performance”.

19. TAMU PPR did not answer the 11-10-2015 written
COMPLAINT about the Eye-wash Showers being YEARS
BEHIND INSPECTION - the men that worked for SWATI KALE

 

were not suspended from vacation or having witnessed
meetings and micro-managed revolving schedules.
a.Plaintiff sent PHOTOS of the eyewash showers and
the database to HR PPR with the 11~10-2015
COMPLAINT.

20. The Plaintiff phoned TAMU HR and asked for help,

expressing that every meeting was worse than the one

 

before and that she was afraid for her safety at the
office because of the hostile work environment.
a.No one did anything to protect the Plaintiff. No
one listened. No one cared how many years the
Plaintiff had been discriminated against. No one

cared to even follow the laws or the policies.

21. Even the Anonymous complaints against the

 

Plaintiff were RETALIATION, as the infe ie false - end

 

reads as if it was written by Susan Karli, the same
person that told the Plaintiff it was “old age” and
then back-dated the injury report so that the Worker’s

Comp would be denied.

22. Plaintiff submitted evidence of FALSE INSPECTION
DATES of the Fire Safety Inspections by .ADAM

 

CHAVARRIA, the younger male, mentored for the
CONSTRUCTION FIRE SAFETY MANAGER position by JAMES

7

Case 4:17-cV-03877 Document 10 Filed in TXSD on 02/01/18 Page 10 of 67
AggieCarpenterMom@qrnail.com 4:17-cv-03877

RAINER to the TEXAS STATE FIRE MARSHAL’S OFFICE
December 29, 2016.

a.TXSEMO has avoided answering to the complaint of
FALSE DATES of INSPECTION at TEXAS A&M
UNIVERSITY.

b.TXSFMO sent the younger female hired instead of
the PLAINTIFF 2016 to TEXAS A&M UNIVERSITY in
2017 to inspect a few of the items the Plaintiff
submitted to the TXSFMO. The report is full of
mistakes, is very vague, does not even list room

numbers.

Plaintiff thanks the Court for its’ time

     

Kamme 0

3503 Winding Road
Hearne, Texas 77859
979-575-1091
AggieCarpenterMom@gmail.com

 

4:17-cv-03877

Case 4:17-cV-03877 Document 10 Filed in TXSD on 02/01/18 Page 11 of 67
L)L= / 7-¢\/ ~ 05@77

l l Gmaii Kamme 0 <diversitygrrrl@gmail.com>

 

Kamme 0 - Employment law referral
1 message

 

Receptionist <rewptionist@thecochrantinndallas.com>
To: "DiversityGRRRL@gmail.eom" <DiversityGRRRL@gmail.com>

 

Thank you for the opportunity to review your claim. Please be advised that this firm will be unable to
represent you in the above-referenced case. l have referred your case to Valli Kane & Vagnini and their
number is 516.203.7180. This firm specializes in Employment law. You may also wish to contact either

the Dallas Bar Association at 214.220.7400 or the State Bar of Texas at 800.252.9690 for a referral.

Clarisa M. Cantu

THE CocHRAN FIRM

DALLAS, P.L.L.C.
3400 CARLstE S'r., SUITE 550 - DALLAS, TExAs 75204
Telephone: (214] 651-4260 Fax: (214) 651-4261
receptionist@thecochrantirmdallas.com

»

This e-mail may contain confidential and privileged matter for the sole use of the intended recipient(s].
Any review, use, distribution or disclosure by others is strictly prohibited If you are not the intended
recipient (or authorized to receive for the recipient), please contact the sender by reply e-mail or telephone,
and delete all copies of this message

l

Case 4:17-cV-03877 Document 10 Filed in TXSD on 02/01/18 Page 12 of 67

4=/7~6\/- 03377

 

 

M Gm@il Kamme 0 <diversitygrrr|@gmail.com>
RE: New Contact Us From Website

1 message

Bess Masterson <dem@kilgorelaw.com> Sun, Oct 8, 2017'at 10:49 AM

To: "DiversityGRRRL@gmail.com" <DiversityGRRRL@gmail.com>
Cc: Theodore Anderson <tca@kilgorelaw.com>, E|izabeth Bicl<nell <ecb@ki|gorelaw.com>

Ms. O,

Thank you for letting us review your potential claims. Sorry to hear about your situation. Our attorneys have
reviewed the facts of your cases but unfortunately we are unable to he|p. We wish you good luck with your situation.

Thanks,
Bess l\/lasterson

5

KlLGORE LAW

Bess Masterson

Of Counsel

dem@kilgorelaw.com
214.969.9099

214.379.0843 Fax

_
QO@

Kilgore Law Center

3109 Car|isle Street

Case 4:17-cV-03877 Document 10 Filed in TXSD on 02/01/18 Page 13 of 67

w n if~"iii

iii Apps m Suggested Sites n Web Slice Ge||eryl i |mported .'-'romlE \¢e. Check‘{our Numbers §§ unemployment E',erv.v `r-¢ Exp|ore newcareer'.. :`.Z, WorklnTexa`S.com|'r. y' :Texas Workiorce C01

(- C‘ 0 ' 6 Secure f https;//action.aclu.org/'noc!;-,/=luI/O';‘-_/done?:.icl:1051-‘,¢1735

  
    

rr ‘ n ' 7

‘&'»'-\.` 51 1 ..
manion ¢wu. Lm£rrnas union
`_ or tsus

miEiiil-…iillli&iilillmiilml§llll£iiillii£lii!miii .. § ‘
WE iHAVE RECEIVED YOUR COMPLAINT.

 
 

 

Thank you for submitting your complaint to the ACLU of Texas. Please be aware due to the high Volume of
complaints, we can only take on a small percentage of complaints that We receive. lf you do not hear from us
within eight weeks from receipt of this message, then our caseload is such that we regrettably are unable to
assist you with your complaint

We are unable to respond to telephone calls regarding the status of complaints

Please note that neither this message nor receipt of your complaint implies any agreement to undertake
representation on your behalf.

Thank you,

ACLU of Texas
w\v\'v.aciut.\'.orcr

 

Go back to the form

   
 

Gmail ' N§Hs@ BeHPl€‘ei/foss’¢$is®taaimem 10 Filed in TXSD on 02/01/13 Page 14 oPsg'e 1 ofl

4117~<:~'- Ozaw

G;m@[li Kamme 0 <diversitygrrr|@gmail.com>

 

 

NWLC Request for Assistance

 

Kamme 0 <diversitygrrr|@gmail.com> M®' l_ it o.®'

To: "Lowe|l, Caitlin" <CLowel|@nwlc.org>

     

lt's January 2018. l filed lVly case pro se in December, against Texas A&M University. l've contact so many
attorneys online, on the phone = they say they can't help Me.

My friends are all telling Me | should contact NWLC since the media is all about sexual harassment lately.
l'm likel "Hah, yeah? No. Already did."

l submitted a request for a court appointment Attorney.. it was declined.. l'm going to appeal it, like l
appealed the legal aid that l qualify for but " they don't handle fee generating cases".

l have the impression that if the person is WORKING CLASS and worked for THE STATE no one wants to
bother with the case???

l have lots of documentation and audio. l'm learning how to write legal documents now too.

Justanswer.com has been the most help so far. Hell, even the lawyer l did have back in 2015-16 was not
paying attention... He seriously didn't fight for Me. Once l figured out his conflict of interest l let him go.

Textcase.com will search the PDFs and look up the case references and search cases... lt's not cheap but
it Works since l live rural going to a legal library is over an hour away.

TAMU HR did lots of bogus things. They didn't answer the complaint l submitted before they fired |Vle,
about the men Were/are behind on inspections and THEY weren't suspended from using vacation.

l figured out, TAl\/lU backdated My workers comp claim to get Me to request F|VlLA. Then they tried 3 times
to get Me to sign the FMLA request... l recorded the witnessed meeting.

When that didn't work, they suspended lV|e from using vacation from JULY to NOVEN|BER.

l have a copy of the document TAMU planned to give lVle ifl had requested FMLA lt reads if the FMLA
wasn‘t approved, the sick leave l used in dates listed would be considered “unapproved absences“. The
thing is, the dates they picked Were appointments l used regularly because of type 2 diabetic. And the neck
injury pain isn't VlSlBLE... so?

Anyway if |'d requested FLlVlA they Would've used it to fire Me.
That's WRONG on so many levels.

Go look at the photos l've posted on TWl`lTER .. or look up My LlNKEDlN...

l've heard NLWC got a million dollar donation lately.... So tell Me again, what the real reason l don't
deserve representation? Because l've been disriminated against by TAMU since 1996 and l have the
evidence.

Please tell NWLC to reconsider.

O

[Quoted text hidden]

https://mail. google.com/mail/u/O/?ui=Z&ik=fl c27fd l 7 l &j sver=2WGmGQ4tStE.en.&view. .. 1/24/201 8

     

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 15 of 67

M Gma]i Kamme 0 <bestillandknow.kammeo@gmail.com>

PEREK HOWARD 4 17_ C\/_ 0 337 7

KammeO <bestillandknow.kammeo@gmail.com>
To: Derek Howard <hk-law@austin.rr.com>

 

 

 

Mr. Howard,
At what point will You SPEAK with Me about the status of My case? Namely thoughts about the 260 & 66 pages from
TAMU to the EEOC and the other evidence that I sent to You?

When I phone You- I'm often told that You say, 'Tell her to email Me."
n WHY ls that exactl ?

,5'~¢

j .' ehveet twlcé lmpersonf;-Mnay?l»,,ZOl

    

1111¢19\:111€715#9;1'5:
May 21, 2015- Upon meeting, You stated that You are friends with the Chancellor of TAMU. And I said, “Who?“ You said,
"Sharp. “ And I told You, "Oh, I don' t like Him. “ And You asked, "Why?" And I told You, "Because He ls prot` t oriented, not
community oriented." Then I basically boo-hooed the 20 year over & over discriminations I'd been through already.

I did not worry about "conflict of interest" at the time - because CODES are CODE, LAWS are LAW.. it's not "personal", it's
a common sense, right/wrong type thing.

That was BEFORE 2015 TAMU HR ignored all of the evidence & complaints I submitted. They even ignored the audio that
THEY recorded in an attempt to spur Me into an argument November 20, 2015. (When I mentioned me audio to You -
back after that meeting had occurred You weren't interested - said it wouldn't help My case. I don't think You had listened
to it when You told Me that..... because You didn't seem to be aware of how terrible I was being treated, or care?)

I am curious- have m researched what other complaints there are similar to Mine against the TAMU
SYSTEM? What are they?

 

 

 

Given how much documentation I have provided TAMU HR and Your offlce with - You already have witness info and
details of the discrimination and it seems to Me, You basically redirect by giving Me "busy work".

 

And what's with the comment "l'hey tend to get upset when covered up in papen/vork"? It's all evidence. .
€goingoggE@RaMRSat TAMU 2015-waS-practieally¢nonastopdretalrationi»~ retty sure beginning with the meeting I had
ife"*n“Yé‘tter 1n early 204 I§e;“‘p|amedto“Hethl a was no allowed or enabled to do the job description that
I Whad. Convienent that EHS restructured' 1n 2015, bascially a year later.

   

 

 

 

 

 

§samahovir §L;q.'ust’e 1mth°i'e"’¢ést:seinter§cuonarroma/aiiampaaamey?j1
ButI am beginning to wonder if I should have just left at soon as You mentioned that You are -
well, how is that friendship not a conflict of interest?

...and

 

TAMU is basically waiting on Me to either give up or drop dead.
You are quiet - like the way HR was to Me....

I'm like, How about YOU explain to Me the ways You think TAMU has discriminated and retaliated against Me? I shouldn't
have to keep explaining this to You- You are the one that ls supposed to be versed in the LAW*”’*Soehow~about You-tell

e. =" '4
And what can be done about it, really?

  

 

Case 4:17-cv-03877r€roument 10 Filed in TXSD on 02/01/18 Page 16 of 67
';;; g ELLWAN_GER LAW

EQUAL RlGHTS ATTORNEYS

  

November 14, 2017'

XlAlL.S_LMAlL
Ms. Kamme O

PO Box 1231
College Station TX 77841

Dear Ms. O:

Thank you for contacting Ellwanger law regarding claims you believe you may have against
Texas A&M University concerning your employment l appreciate the conhdence you have
shown in Ellwanger Law, but for various reasons the firm has decided not to represent you in this
matter. If you have need in the future for legal assistance, l hope you Will again consider our
iirm.

When we spoke on October 27, 2017, l explained that while we did not yet represent you, our
conversations about the potential representation and any documents we shared while considering
the representation were privileged Those communications remain privileged. Any physical
documents of yours that are in our possession are being returned and are enclosed with this letter.
We will delete any electronic documents of yours from our computers within 30 days of this
letter unless you instruct us otherwise.

ln declining to represent you in this matter, Ellwanger Law is not expressing an opinion about
the merits of your claims or whether you will ultimately prevail if you pursue the claims. You
should not interpret our decision to decline representation as discouraging you from pursuing
your claims with another law tirm. Indeed, because the statute of limitations likely puts a time
limit on when you can bring your claims, We recommend that if you want to pursue your claims
you should contact another law firm immediately lf you need help finding another law firm, the
Texas State Bar runs a Lawyer Referral Service that can be reached at 800-252-9690. We are not
charging you for any legal fees or expenses Please call if you have any questions

Yours truly,

/s/ Vas Mam‘hos
Vasilios “Vas” Manthos, Esq.

17[: /7/ &\/’ 05877

8310-1 N§ capital orrexas Highway 1 suite1.9011Atrsrin,<ré$<as 58731 1 737.80$.226¢0

E,ll\vangerLaw.coln_

 

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 PYe 17 of 67

Ll‘li~c\/~O @77

 

 

M Gmail Kamme 0 <diversitygrrr|@gmail.com>
FW: New Form Entry: Contact Form

1 message

Vivian Clark <vclark@henkelawfirm.com> lVlon, Nov 20, 2017 at 8:03 AlVl

To: "DiversityGRRRL@gmail.com“ <DiversityGRRRL@gmail.com>

l am sorry we are unable to assist you as we no longer handle employment law. l suggest you contact Charles Peckham
at 713-574-9044.

From: DiversityGRRRL@gmail.com [mailto:no-reply@editmysite.com]
Sent: Friday, November 10, 2017 11 :02 AM

To: Charlie Henke <chenke@henkelawfinn.com>

Subject: New Form Entry: Contact Form

j ® . . ® ,
@ LexlsNexis ' y

'You've just received a new submission to your Contact FOl'm.

Submitted Information:

Name
Kamme 0

:Address
53503 v\nnding Road
Heame, Texas USA 77859

§Phone Number
`9795751091

._Email
DiversityGRRRL@gmail.com

:Comment
'23 year employee of Texas A&M University.

590 Day Right to Sue letter date: 09-21-2017

Case 4:17-cv-03877 Document 10 Filed in TXSD on_ 2/01/18 Page léof 67

tli»cv- 3377

M Gm§l| Kamme O <diversitygrrrl@gmail.com>

 

RE: Right to Sue

Ruby Torres <rtorres@pmlaw-us.com>

Fri, Dec 1, 2017 at9:11AM
To: Kamme 0 <diversitygrrrl@gmail.com>

Sorry Ms. O, but unfortunately we are unable to help. Please call HLRS at (713) 237-9429. They may be able to help
refer you to someone Who can help.

Thank you.

Ruby Tori'es, chal Assistant

rtorres@pmlaw~us.com

  

Peckham 1\'\.1r1m. l’LLC
Two Bcrir\g P.u%t

300 Bcrmg Dri\c. Stiite 220
llousfon. `l`ox.'ts 77057

7l3) 5?41904-£ ~ Tclcphonv
713) 493-2255 __ ldcs-milt-
\\'\m'.pmla\»~us.com

From: Kamme 0 [mailto:diversitygrrrl@gmail.com]
Sent: Thursday, November 30l 2017 8:35 PlVl

To: Ruby Torres <rtorres@pmlaw-us.com>
Subject: Re: Right to Sue

[Quoted text hidden]

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 19 of 67

l ' le@lE Kamme0<diversitygrrrl@gmail.com>

 

F§;SEE;‘°L*‘W]°°"“‘°*“S 4111~@\/- 0367‘1_

Megan Daic <megan@daiclaw.com> . Fri, Dec 29, 2017 at 4:52 PM
To: Kamme O <DiversityGRRRL@gmail.com>

 

Good aftemoon,
Thank you for your online inquiry to Daic Law. Unfortunately, we will be unable to assist you with your case.

l would suggest that you contact the Texas State Bar’s Lawyer Referral Service at (800) 252-9690 for an attorney
referral.

l wish you the best of luck in finding the right attorney for your case.
Take care, and Happy New Year.

Megan A. Daic

Attorney at Law

DA|C LAW

12777 Jones Road, Suite 210
Houston, Texas 77070

(713) 808-5246/Office

(832) 201-0713/Facsimi|e
l\/legan@daiclaw.com
www.DaicLaw.com

This communication is solely for the person to whom it is addressed lt contains legally privileged and confidential
information. |f you are not the intended recipientl you may not fonlvard, disclose, copy, print, or save the message or its
attachments lf you have received this message in error, please notify me immediately, and please delete this message.

On Dec 29, 2017l at 4:26 PlVl, Kamme 0 <wordpress@daiclaw.com> Wrote:

Name: Kamme O

Emai|: DiversityGRRRL@gmail.com

Phone Number: 979-575-1091

Comment: 23+ year employee @ Texas A&M University, 3 separate careers:

1992-95 PARK|NG OFFlCER: Left thatjob because the supervisor complained loudly that My hair is "too
long, too red and too curly to be professional - if He could lVlAKE l\lle CUT lVly hair, He WOULD."

l
Q
1995-1998: Carpenter Apprentice = 1996 written up by the supervisor that was very "Archie Bunker" style: §
"Being female she is a distraction to the male workers. While He was a grumpy good-ole-boy, HR was

worse: They told lVle they couldn‘t Hnd the evaluation any place, HERE-sign this one? §

l said, "l have copy of it at home would you like one?"

1998-1999: Carpenter l - came into the work to a brochure laying on My workbench, "HOW TO GlVE A \\)
PROSTATE EXAl\/l". - words do not describe the panic & disappointment l felt that day. The EX|T `\<`,
lNTERVlEW did not transfer with My personnel file to EHS. The VP of Physioal Plant became interim over §
Human Resources. The EX|T lNTERVlEW was not distributed to the persons l requested receive a copy -

that HR told Me would get a copy. _ \°L -

1999 - Safety Tech l @ Environmental Health & Safety: lronically, l was hired because it was the 1st year of §§
Resident Ha|l room by room inspections - TAMU didn't want to send a lVlALE into the female dorm rooms. \
But then right lafter the inspections were complete and Christmas holidays ended - JAl\/IES RA|NER, lVly

§

-`

©

Case 4:17-cv-03877 Document 10 Filed in TXS n 0 / /18 Pa e 2
supervisor stopped interacting with Me. 7 ' @\/g/' 77
l won't write in the 15+ years of discrimination, passive aggressive retaliation, just know that sat in the
SAl\/lE DESK, using the same mouse 1999 until May 1, 2015.

2014 l went to HR and asked to be allowed to do the job that l had..."l retire soon anyway."

April 21, 2014 EHS announced the "Restructure" of the department1 effective lVlay 1, 2015. This is when the
retaliations became steady and l was systematically forced out. EHS sent the office home early, off the
clock, and the Director, Assistant Director and 2 Supervisors came into l\/ly office, shut the door and handed
iVle a letter of termination for "work performance“. No other details. So, appealing it was an estimated
guess.

| was fired 47 working days after turning in a complaint to HR that the lVlALE inspectors were YEARS
behind on the Eye Wash Shower inspections - They had the same supervisor and NONE of Them were
suspended from using vacation time - as l had been, without warning, 07-17-2015 to 11-13-2015 (3 days
after submitting the complaint there was an emai|: "based on Your work progress, You can now use Your
vacation time." The actual written complaint only received a letter extending the "investigation" dated 01-05-
2016.)

310-2015-01426 filed 06-18-2015
Went from TWC to EEOC to D.C. and then a 90 day Right to Sue was issued 09-21-2017. (That EXlT
interview from 1999 was also 09-21-99)

\_) 12-14-2017 Complaint Submitted to the Texas Southern District Court (Pro Se) 4:17mc3315, entered 12-18-

_€Aéa /1\/\(0

v

Q

\

\

`;

2017.... l'm waiting to hear that that FEE WA|VER has been accepted

l have audio of the_11-20-2015 of the female they assigned Me to in 2015 standingl yelling and beating Her
fist at Me for over an hour. She DARED Me to file another complaint with HR. TAMU wrote in their response
to the EEOC that | yelled at Her. l did not. l never yelled at anyone. The TAMU position statement reads like
a TABLO|D magazine.

Here's the kicker: After decades of abuse - after asking politely to be allowed to do the job - after no one
back in 1996 informed Me of what the EEOC was or that l even had any "rights“ ...... when l Hlled out that
paragraph that asked for "Resolution"l l didn't really know what to ask for - but l had learned that ignorance
is the tool TAMU abuses most. So, l aimed high. And welll logic wasn‘t something HR ever seemed to pay
attention to so l requested $333,333,333,333.33 + 8 Home Game Season Tickets, which sections, where l
Would like parking spaces and an Aggie Ring, size 7 for having graduated the GOOD OLD BOY SYSTEl\/l
after 23+ years.

The funny part is that l wrote 3 more 3s than l meant too. LOL @ $333billion.
PROFlT/l\/loney is what motivates TAlV|U, not so much actual integrity - so l aimed at what TAMU views as
"important" to get their attention.

ln the COMPLAlNT to the court l wrote something like "if TAMU can pay the football coach $10 million to
leave, $33 million is acceptable for 23+ years." After requesting that the working class be no longer
outsourced. (maintenance, custodial, food services) And l requested that Human Resources be outsourced,
so there is no longer a conflict of interest

Oh, btvv - HR was moved from the VP of Finance to directly under the Presldent of TAMU after l was
terminated from the job. 01-29-2016, effective 02-12-2016

lt would really be nice to actually have someone fight for Me, for a change. | Was a great employee - | have
My evaluations 1999-2015. l also have 1999-2016 Fire Safety inspection notes in order by month & date.
1994 a student drew a cartoon of Me in the University newspaper - called Me a NlCE Parking Nazi...
Compared Me to Nicole Kidman. ;-)

Oh & well.... the "religious discrimination“ has to do with l bled to death 12-18-1990. EHS management
never actually had a conversation with Me about any of it - but l didn't get the promotion the month that the
local magazine printed an article about lVly NDE. l was basically totally shunned after that...2010.

Have You ever worked in an office where the new employees are warned not to come meet You? ...what l
am most guilty of is having a lVllND of My Own and Perseverance. And well, being female.

 

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 21 of 67

fit ll c\/' 03677

 

 

M Gm§ii Kamme 0 <diversitygrrrl@gmail.com>
KammeO 31 C-2015-01426
Vasilios Manthos <vmanthos@equalrights.law> l Tue, Oct 31, 2017 at 2:20 PM

To: Kamme 0 <diversitygrrrl@gmail.com>

Thanks so much for your interest in our firm, and for speaking with us over the phone about a potential lawsuit.
Unfortunate|y, we are not in a position to represent you at this time.

Since you indicated you have already received a right to sue |etter, we urge you to seek an attorney to represent you
as quickly as possible. ln addition, please be sure to keep copies of the documents you emai|ed to me since we Won't
be able to maintain those documents on our system.

lt was a pleasure speaking with you. We wish you the very best of luck with your claims.
Take care,
Vas

Vasilios ”Vas” l\/lanthos| Ellwanger Law LLLP
8310-1 N. Capital of Texas Hwy., Ste. 190
Austin, Texas 78731

(737) 808-2264 (o)
vmanthos@equalrights.law

www.ellwangerlaw.com

From: Kamme 0 [mailto:diversitygrrrl@gmail.com]
Sent: Friday, October 27, 2017 9:11 PM

To: Vasilios l\/lanthos <vmanthos@equalrights.|aw>
Subject: KammeO 31C-2015-01426

z t htt _: ehsd.tamu.edu
" il TWitter:@EnvironmentTAl\/lU

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 22 of 67

4:17-CV-03877

  
 
    
     
    
  
 

To 0, Kamme

0 \'ou replied to this message on 1/16/2015 10:39 Aivl.

1 f - 1_‘ t “~; ,~\=; 11 O_.s ‘."/'i)ki»‘l

1111 mate use :

Monica D. Hartman, CHlVllVl l Environmental Safety Assistant Manager
` Environmental Health and Safety l Texas A&l\/l University
j 4472 TAlVlU l College Station, TX 77843-4472

1 ph: 979.845.7378 | mobile: 979.492.7066 l monica-d-hartman@tamu.edu
facebook.com/theEnvironmentAtTAl\/IU

 

Monica Hartman is listed Within the TAMU EEOC 31C-2015-01426 Statements,

This email reads completely different from the "witness statement" by TAMU.

V I'lLl 1503

lt/lonica Hartman, Environmentaf Safet 'Assistant" lVf ' ’
EHS, Witness y amgen

 

 

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 23 of 67

AggieCarpenterl\/lom@gmail.com Kamme 0 v. TEXAS A&l\/l UN|VERSITY 4:17-cv-03877

EVlDENCE OF DlSCRll\/llNAT|ONS:

lIl Kamme 0 first acquired the FLAME EFFECTS & the PYROTECHNICS Certifications in 2005.

ij Kamme O's certifications are current and have been current since 2005.

l:l Kamme 0 is the only current EHS Employee with the Flame Effects Certification.

l] Kamme O is the only current EHS Employee with the Pyrotechnics Certification.

lIl Since September of 1999 -when hired at TAMU EHS - Kamme O has not even been asked to attend,

witness, learn or fill out a form having to do With either Flame Effects or Pyrotechnics.

Kamme 0 has also not issued a HOT WORK permit or an OPEN BURN permit at TAMU.

Kamme O also has the FlRE INSPECTOR l & FlRE INSPECTOR ll Certifications.

|:l October 1, 2014 - Corey Schultz commented to KammeO that when he attended James Rainer's class at
BLlNN COLLEGE, James Rainer told the class, ”No one at TAl\/lU is certified in Flame Effects but that he
was looking into it."

l:|l:l

 

 

  
   

 

 

 

 

 

 

 

 

lL_ rExA F lNSURANCE ' rExAs DEPARTMENT oF leuRANcE
§ sro%EggngAS-’-HZL'S OFFICE STA TE FlRE MARSHAL's oFFlcE
02-2` -2016 0., KA 02_2
' LicenseN - 1 `\ 5 _ _ l 1
EEF ` P l ' c::‘R
Expi;sZ-ZL! 1_ .Q_ B_. - 955 701 966
23';1 its , >
: t ` J
s' 1 /1 ‘ d . j
EFFECer DATE-. 02-23~2005 TEF'RE MARSHAL EEEEcmrvE ama _02=23-2005` " ' `TEF‘RE ""\RSHAL
XXX-XX-XXXX » ` 02-23-2005
Al]M N l v E n S x M Environmental Health & Safety
Home Environmental v Health v Safety v Aboutt.ls @

A

l-low dol Requestan Open Burn Permlt?

Contact

Adam Chavarria

(979) 458-8521
adam.chavarria@tamu.edu

https://ehsd.tamu.edu/Pages/Open-Burn-Request.aspx

Name: Adam C. Chavarria
Title: Environmental Safety Assistant Manager
Depanmen!: Environmental Health 81 Safety

 

 

.~ _ ,L l l Duties/I(eyword:

L.O-l lle!§ l. ' phone:

ittf§'£'ll`ll~ Cl'l»?-‘\."~.“. l'l"l-:'i Emai|: ML¢_;M\M
l;e._lq] 455_55?.: MailStop: 4472

. _ _ Address 1: ENV HEALTH 81 SAFETV
adam¢cha‘rarnar.r-.f'tamu.cau Addre“ 2:

 

 

 

Case 4:17-cV-03877 Document 10 Filed in TXSD on 02/01/18 Page 24 of 67

AggieCarpenterl\/lom@gmail.com Kamme O v. TEXAS A&l\/| UN|VERS|TY 4:17-cv-03877

Notes written by KammeO, inside her 2014 Calendar:

 

111111' 11 '
w 11

u \\‘,»,1’;\‘9‘¢.~ k"W';/-"‘J

\.Iw {Z='c£!/J HM{I"!V" MQ€'
rqu,»/F):a/rpfjo&,;:_%g

 

 

 

noonko

-$KM mmmg gram fmc 111/11511<11,1§ 1-1% 1115 1,\/1:11;1/.
1'\1 1111th M» 14 v
~ ::10:[01:1 W§jem< 11<#1? 1 em /§@;1~1 1161421)117 66401/_1 1111 1111/mda

 

 

November 31, 2014: Adam promoted to ”Construction Manager"for Fire & Life Safety after being hired as a
TECH ll September 2, 2013.

*TECH ll was the position BELOW KammeO’s position as a ”Safety Specialist" and KammeO has applied for the
FLS Construction position at least four times in the past. - with only ONE interview & the position sat VACANT
for a very long time after that.

Kamme 0 has construction experience - Adam did not, yet James Rainer didn't seem to have a problem training
Hl|\/| to do the job...??

WlTN ESSES:

Rainer James

 

;Adlsin§._Dsblzi§; Amo.s,_lodl; Amszld._lqhn_|!l; lel._A§rgn; Bien._ll¢;r§ls; B|anls§n§bm¢_l‘_’|anc; Bsme.
Michael R.' Brock Babette; Bg(‘.=)chl Sean; Clgar|togl Wll|iam; Chavarria Adam' Collins Theresa; Contreras

Johnny; Corkhilll Charles; Cg¢er¢Cody; Debnerl Gretcheg; Durl<ee Eloura D.; Eubanks Toni Falke Eric; Fgan¢
Richard', F1elds John' Fischer Cherie' Frederick Duane; French Gabriel' Garzal Jorge', Hartman Monica'
Hermannl Tassie; Hoffman Maeci; Horne Austin C' Jacl<son, Jem(; Jemelkal Blaire M; Kale Swati G.; §Llj‘
Susan; Kelly‘ Clgristogher F', Lackey‘ Lam¢ J; Lunal Sergio; l`;/lcCordl Dgle', McGirrl Alicig; Menchacal Daniel',
Meyerl Chris; Mills Robert; O Kamme; Osbomel Dave; Owegl Christogher; Rainerl James; Ricel David;
Roberl:sonl Christina; Robinsonl Kristen; Rodrigue;zl Luis; Smithl Trag; Sgeed, Sean; Trussl Jeff; Tuttl James;
llcb§n§z¥ls._&cad|§¥; Ma§ud§acan._Latha; Walker._AMn; Ward._lasgn;MLeintraub._l‘_/lgni§a; Whme._&gl:@s; wm

Marianna

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Cas_e 4:17-`1`:“\`/-'038'77" Documém 10_` _"_1=11@@1_`in:T`)<_SD`_Qh_o_z/o_yl`s "Pagé' ‘2_1`5_ _91_”157`,~:" ”

 

December 13, 2013
2012 Demolition'

 

College Sfa!ion, TX 77843

Congralulalions, an inspection of your facility on

 

_ December 19, 2013
2012 Demolition:

 

_, ll 1 .
2699 F & B RD
Coiiege Station, TX 77843

Texas A&M University l
Environmental Health & Safety

979.845.2132 4472 TAMU l

Fire & Life Safety inspection Report §

 

l noticed the DATES of the ”Wildlife & Exotic" area - because l
usually go there ONCE to inspect those 5 buildings. The 2013
inspection dates are all spread out? Did Adam go out there 4
times or Was FIREHGUSE the cause of the lNCORRECT DATE$?

DATE OF iNSPECTiON is an item thatl asked EHS about many
times via FiREHOUSE because the application inserted the date

inspector.

 

based on the date of,the iPad and is unable to edited by the

 

 

@m.,;§,~_`,e` 1151 revealed no violations

   

Texas A&Wi University
Environmental Health & Safety
979.845.2132 .4472 TAMU
Fire 8¢_v Life Safety inspection Report

 

 

 

 

 

 

 

i

1

l

l

l 1. v
127711=&13121)
i

1

1

1

 

College Stal,ion, TX 77843

Congratuiations. an inspection of your fa

l_.__..__... 1.. ___ ., _...._... ._ -_,_ _ __E_ ,__ _ _ __ _ __

 
  
 
 
 
 
 
  
 

 

' 21651=& 13` " h
Coiiege Stat|on, TX 71843

Congratuiations. an inspection of your

 

j Co|lege Statlon, TX 77843

l Congratuiations, an inspection of your fac

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 26 of 67

159

Send the speciiied copies to your
Workers' Compensation insurance Carrier
And the injured employee.

'Employers - Do not send this term to the
Texas Department of lnsurance, Division of Workers' Compensation,
unless the Division specifically requests a direct filing.

EMPLOYERS FIRST REPORT

417/cv~©3@37

Mz;£`_
57//.20/5

§§%%§es\

 

 

 

 

 

 

xxx_xx_ 6830 (979)575-1091 03-30-1966

1. Name (Last. First. M.l.) 2 Sex 15. Date linjury (m-d-y) 1 . olin,[ury. \ 17. Dale Losl Time Began (m-d~y)
O,KBmme F. ME la l/z,)‘i‘ . amU me
3. Socia| Sewrity Number 4. Home Phone 5. Date el Binh (m<!-ywy) 1 1 ry 19. Pan el Body injured or Exposed'

 

slrain

EM<

 

i6. Does lhe Employee Speak Engish? ll No, Spem'fy Languagc

Yes No m

20, How and Wi'1y injury/lineas Ooourred"

Ergonomics issue with iPad use for entering inspections = looking down al
lap io enter data.

 

 

 

 

 

 

 

71 new me e_ Emnb.~ H.Epanicn 21. :vss e'r\n;rc,ee YES d 22.wor1¢size Locarian or injury (srane, dam ere)'
011\9
L aim m Asianm Narive md¢an comm rewlarivb"' No 1 1 1 1 Research Pa‘ kWaY
S. Maiiing worse Streex ar P.O. er 23. Address Wnere hjury or Expcsure Jccurred
po B°x 1231 Name otBus'ness illnddenloowrred an a business she
Ciry Sare Zip Code Coumy Streel ar F.o. am EHS TAMU Counry Brazos
Coiiege Stalion TX 77841 Brazos . 11 11 Research

 

 

 

 

 

 

10. Mamai Slams Cify State Hp Code
Mamea n memo m separa1e<1m smgie n Dlvoroec COllege Sfainn TX 77843
11. Numher 01 Dependenl Chiidren 12. Spo¢.se's Namc 24_ Cause d mm ([a". 1001 math elc')'
9 Sirain

13. ors_bhme" `~ ` _______ 25_ List Witnesses

~"-\\ .

Babetle Perkxns
14. Dodofs Mairmg Address (Slreei or P.O. Box) 26. Retum 10 work daieior 27. Did emplam die? 28. Supervism‘s Name 29. Daie Reponed
\\ expected <md-y) <m¢-yv)
_ 4 \ Zeiger, Dave

°"Y s'a“’ ’“’ °°°a ,l res |:I 110-03127-2015

 

 

 

 

 

 

30. Daie nl Hire (m-d~y)

§[/3//492.

:11_ Was employee hired or learned in Texas?

nasa No

32. Lenglh niServioe in Currem Pos`l.ion

33. Leng!h oi Service in chpation

 

7

Manth

 

 

Years z 2- 7 Years 274

 

 

34. Employee Payroil Ciassxfrmtim Code

O¢/OI¢

35. Oecuoalion of injured Worker

F`)'re, lns_p¢L.-l-'or 177

 

 

 

 

 

 

 

 

 

 

 

Jl;Raie 01 Pay al chs Joh n . 37. F\m Wurk Week is: 311 Lasl Payd\ed\ was: ’/37/ 2 °/J 39. i:reérl\)crlli’c;y;;eeagn?xnrer. Partncr.
$ /qléémuriy s zsé,qo Weeidy 40 Hours 5 Days $/',57Bor Hourser /O Days YeS m NO
411 Name am me emerson cunn\eang mm ‘1~ Na"'¢ °’ mims

Sus /,' A mg ‘ ,_ I Texas A&iil| University
42. Buslf\Bs Mailng Mdrw and Tel one Number 43_ stiness Locztiun (il' diliereni from mailing address)

Slree! or P.O_ 801 Teiephane Numoer and Streei

lau/72 _HM Ll. ’ _ ' (? 79) ?é 28/ /‘J Texas A&M University Human Resources (1255 TAMU)
cary Ue z'rp once city srare z1p code
co//aqr. S/-a=!-)¢n 7 >L 7 734§' college Station, Tx 77843-1255
44. Federai `Ex ideniifimiion Number 45. Primary Nenh Amerimn industry Classd'miione System 46. $pecdic_NA|CS Code 47. Texas Cempimiier Tazpayer No.

Code (5 digi!) (G digll)

14-6000-531 xxxx xxxxxx .xxxx

 

 

 

48. Workes' Compensalion instance Company

491 Poixcy Number

 

Seif insured

 

exas A&M System Risk Management

50.D1d you request aecidenk prevention services ln past 12 monms?
¥ESB NO n ifyes. did you recdve rnem?

 

51. Signalu and `l'llle (READ INS

X A,»_/ null .

 

YES]S]9 1013
UC lONS ON |NSTRUCT|O SHEE' BEFORE SlGNiNG)

Dare -¢///.20/.5'
f l

 

DWC FORM-1 (Rev. 10/05) Page 3
Form 569c

\

|llll||ll||l|||||ll||||lllllll||||||ll|lll||||l||

DIViSlON OF WORKERS’ COMPENSAT|ON
5-1-2012

 

 

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 27 of 67

 

From: Kariil Susag

To: 0 Kamme

Subject: RE: Contact at HR for workers compensation ` ' , 17 0 5@77
nate: Wednesday, April 08, 2015 4:09:12 PM ' ' ” @\l ’

Attachments: imageOOl.png

 

Thank you for the information. iWill put it in your medical file.

From: O, Kamme

Sent: Wednesday, April 08, 2015 1:22 Pi\/|

To: Kar,li, Susan k DFZ
Subject: RE: Contact at HR for workers compensation

Don Cumby phoned me back-They had it, but filed as ”October” -I explained to him, like l
attempted to explain to you, that l couldn't say exactly What DAY or When, that’s it's been an on-
going situation since early 2013. That Friday, 3/27/2015, While entering reports on that iPad is
vvhen | finally could not stand looking down at it anymore. |\/iy neck and right ear have BEEN
bothering me for quite some time. |t'sjust gotten to the point the ache makes me nauseous.

Beginning 2012/2013 l've asked/explained to Richard Fegan, lames Rainer, Christina Robertson and
Dave Zeiger many different times that entering the reports on the iPad is tedious, time consuming,
often fails to function/sync and is uncomfortable ”Why can't | use the desktop With the larger
screen and real keyboard?" ljust hadn't linked the ear/neck discomfort to the ergonomics of it until
Friday- because ijust could not KEEP looking doWn, so l Was holding it up in the air in front of me.

For the longest time | have BEEN attempting to explain that the FireHouse application is not reliable
or accurate and that the iPad is Way more Work than any inspection data situation previous here at
EHS that | am aware of.

What l am told is basically,' ”it's been paid for” and ”it's What We have to use". From beginning to
use the iPad application in late 2012 until after Dave Zeiger Was hired - and has Worked on
communicating With FireHouse to EDlT the application list of items, late 2014 early 2015 -there
Was literally 26.5 FEET of items to scroll through to enter one item. Early on if there Was a change
Or edit to a report PDF, Richard Fegan Would have me RE-Enter the entire report. For Wisenbaker-
that Was 11 pages of notes, FOUR times.

|fl had thought that dealing With FireHouse & the iPad Was going to create the hearing issue and
neck pain that l have been having -| certainly Would have complained l\/|ORE than the verbal 81
Written As it has been, l'm just emotionally and physically tired of attempting to explain What l
need to do thejob proficiently, Why and What is not Working With the FireHouse application and the
iPad, because the general reactions | receive have been excuses and invalidations. On|y since Dave
Zeiger arrived 9/2014 has the application actually been edited down to 48 items, from the original
108 items @ 26.5'.

i originally left the ”date of injury" blank because ijust couldn't say exactly What date my neck hurt
or my ear did that mono/stereo thing? l explained this to Don Cumby and With my permission, he is

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 28 of 67

going to change the ”date of injury" to 3-27-2015 Which is When the injury form Was filled out. (i
put the form in Dave Zeiger's mailbox after not seeing him Friday 3/27 -then he didn't find it,
because his mailbox moved, until 3/31/2015 Tuesday, after l asked him if he had gotten it, because
he hadn't said anything about it to i\/|-

   
  
 

application via the iPad.

Sincerely,
Kamme O

Kamme 0 | Fire inspector ill
Environmental Health and Safety | Texas A&M University
ph: 979.862.4040 | fax: 979.845.1348 | kammeo@tamu.edu

Www.tamu.edu

From: Kar|i, Susan

Sent: Wednesday, April 08, 2015 12:00 Pl\/i

To: O, Kamme

Subject: RE: Contact at HR for Workers compensation

Thanks. |faxed it over to the number they have on the report (979 - 862-3128

From: O, Kamme
Sent: Wednesday, April 08, 2015 11:58 Ai\/l
To: Kar|i, Susan

Subject: RE: Contact at HR for Workers com easeth _,

FY|, \\

l phoned Don Cumby. He Said h doesn’t have the first report of injury.. is going to look for it.
Where Was it sent to, hoW?

And Don Cumby is 862-5390

 

KO

Case 4:17-cv-03877 Document 10 Filed in`TXSD on 02/01/18 Page 29 of 67

:.~. »-.,,» 11¢¢1¢-1. 1 .

4.17- cv-O3877

mel m

To: lwii._isaia=.!

subjece RE: Right m Appeai

Da‘he: Tusday, Juiy 14, 2015 1:18:25 PM

 

”it does not show a direct correlation" - based on what exact|y?

l'm the one that knows WHEN & WHAT creates stress/pain in my neck, upper back & inner ear.

There’s been no l’investigation” of my work environment-that l am aware of. So, how could you possibly KNOW?

| phoned the number you supplied. Thank you. The\/ll do whatever it is that they do. OFZ

KammeO

Kamme 0 | Fire inspector iii
Environmental Health and Safety | Texas A&M University
ph: 979.362.4040 l fa)c 979.845.1348 | Kamm@tammu

From: Baii, Kaye [mailto:KBall@tamus.edu] 7 \1 U ]/\! {L%, 20 l 63 V\l O@‘Lé_£_.g

Sent: Tuesday, July 14, 2015 8:49 AM

To:O,Kamme COMIO D°’é"/\h@

Subject: RE: Right to Appeai
Ms. O,

l have reviewed the medical notes that i received from Wall<er Chiropractic and the x-ray from Scott & White. it does not show a direct
correlation between your worl< environment and the problems you are having with your neck and ear. ¥our claim is denied. ifyou would like to dispute
this

declslon, you will need to contact The Texas Department of lnsurance~Division of Workers' Compensation to request a Benefit Review Conference.
The number is 1-800~252-7031. The Office of injured Employee Counci| has an ombudsman that can assist you at no charge to you.

Thank you,
Kaye Ball

Kaye Ba|i | Claims Adiuster
Ofiice of the Treasurer [ Risk Management

isb_aii@.iamu§.edu .,

1262 TAMU | Coiiege Station, TX 77840-7896
Tei. 97945&6330 l Fax 97945&6247 | mfgmg§.e_d_u

John B. Connaiiy Building
301 Tarrow, Sih Floor
College Station, TX 77840-7896

Tmz TF.‘<As A&M Umvmsmr SYsrcM

§17@$)$
§§'{I`»l’an§%“yl"iii£”§f§at§‘%mf§fmmm \ju),\/ 13, ZOI§ = ?”Z?

To: Baii, Kaye

Cc: 'hk-law@austin.rr.com'
Subject: Right tn Appeai

 

Good Morning Kay,

So what did ever happen after this email? My neck still aches and my ear still does that on 81 off thing.
Far as l know, no copy of the original document ever made it to EHS.

And the date on the form should have read 03-27-2015, = when l filled it out.

Seems like Susan Karii changed the date to suit HER speculation that’ ’it's probably just age- or an old horse related injur\/' and that she knew it
would get tossed out because of this 30 report thing: *

You have the responsibility to tell your employer if you have
been injured at work while performing the duties of your
job. You must tell your employer within 30 days of the date you
were injured or flrst knew your injury or illness might be work-
related.

l reported it as soon as i figured out WHAT was making my neck hurt - because i could not look at that iPad in my lap or on the desk anymore - and
i only found out about the ear being neck related when l went to the chiropractor.

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 30 of 67

411 7-CV-03877

And anytime l asked Susan Karli about what to do or how to know ~ She was basica||y, ”I don't know”.

She came into my off1ce after my supervisor gave her the form i filled out and told me SHE didn't know if she could submit it as an injury or not?
The whole situation caught me off guard = You think you know someone until you find out that you don’t.

Susan Karli has been grumpy - unhelpful and just completely different from who l thought she was ever since l submitted that injury report.

And recently, she called me into her office and ”ever-so~sweetiy” offered me FMLA. What is THAT about?
ijust declined.
Then she emai|ed me all the FMLA info anyway. That's weird. What's the REAL reason for doing that?

March 27, 2015 lS exactly the date that l noticed the connection between my neck & that iPad, because ijust couldn't MAKE myself do it without
holding it UP above my shoulders. l've been avoiding it as much as possible.

The pain meds the S&W doctor gave me totally KNOCK ME OUT- even if i take a fourth of it. i’d reaily rather find another way to ease the neck
stress, which is why l went to the chiropractor. _ _
if l have to locate one that will accept the worker's comp situation -then l wi|l, but i am waiting on you to do what it is that you do.

|'d appreciate it if you would take care of this - so i can take care of my neck.

Sincereiy,
Kamme 0

Kamme 0 | Fire inspector l|i
Environmental Health and Safety | Texas A&M University
ph: 979.862.4040 l fa)c 979.845.1348 | kemmeo@t_amu._e_ciu

2015 a (Leo\l§§j”
§IZ"“ §."_*S§, AM\, Z%' §d(\/\i M§

Subject: RE: S&W forms iam 05-22-2015

 

Dake: `i`\'\msday. H¢y 28. 2015 1:48:3}. P!-'l
i-ii lvi$. O.

1 did receive the notes from Waii;er Chiropractic and i have requested the notes from the
visit at Scott & White. 1 will let you know when | have received these and reviewed everything

Thankyou, § rkle Wv/DL) [_<MD\/\[//

Kaye Bail

Kaye Ball I Claims Adjuster
Office of the Treasurer l Risk Managemeni

kbaii@tamus.edu

1262 TAMU l College Staiion, TX 77840-7896
Tei. 979~458-6330 l Fax 979458-6247|!£¢¢11_13[1111§_&;111

John B. Connally Building
301 Tarrow, Sth Fioor
College Staiion, TX 77840-7896

’IH): 'Ir_\‘\s .-\&M'U.\'nmm' S\"stm

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 31 of 67

4:17-cv-03877

From: KALin

To= Q.Em_me

CC= R_QM§QD.SLUHDB_E

Subject: an Request for Physician"s Certification for FMLA

Date: Thursday, July 16, 2015 7:45:18 AM

Attachments: - u ' ' " ' 1 ' . f
M.Lv_rlg

 

Attached is the second request letter and form for the Physician's Certification for your benefits
covered under Fl\/|LA. A hard copy has been placed in an envelope in your mailbox located in the
EHSD work area. Please sign the letter and return to me. Also return the Physician's Certification
Within the 7 days of this letter.

Thanks
Susan

Susan Karli l Business Administrator 1
f’m/@WHR Liaison

 

Environmental Health and Safety | Texas A&i\/l University
4472 TAMU | College Station, TX 77843-4472

ph: 979.862-8114 / faX: 979.845-1348/ §usan,k§r]`@tamu.edu

lt's Time for Texas A&M

Kamme O V. TEXAS A&l\/| UN|VERS|TY 4:17-cv-O3§77

After Susan Karli backdated the 1st Report of injury and Worker's Comp was denied,
EHS TAMU started offering KammeO FMLA over & over.

This emai| is July 16, 2015 - July 17th is the day of the meeting with Swait Kale, witnessed by
the EHS Director Christina Robertson, where KammeO is asked what the status of inspections
is, followed by, "until further notice you are not going to be allowed to use any vacation."

The vacation suspension lasted from July 17 to November 13, 2015.

November 10, 2015 is the date of the Written COMPLAlNT to TAMU PPR: Proof of Retaliation,
Eye-wash Showers are YEARS BEHIND inspection by the men that work for Swati Kale and
they are not suspended from using vacation time.

TAMU PPR extended the "investigation" on January 5, 2016 and then no answer to the complaint

January 29, 2015 KammeO was terminated from 23+ years of employment at TAiVlU, 16yrs EHS.

Case 4:17-cv-03877 Document 10 Filed in TXY pqgf/01/18 P
» -cv» 1363

M Gmail Kamme O <bestillandknow.kammeo@gmail.com>

 

07-17-2015 Audio 28 minutes - Swati ASKS Me for inspections are completed or not
- but had already decided to take away the use of vacation.....

 

KammeO <bestillandknow.kammeo@gmail.com> Tue, Nov 15l 2016 at 6:39 PM
To: Derek Howard <hk-law@austin.rr.com>

Swati AGREES With Me - Says I have LEGITIMATE COMPLAINTS about FIREHOUSE.

This is me FRIDAY before I leave on VACATION thatl submitted back in April for July. It is also the DAY AFTER Susan
Karli emails Me the FMLA form.

This audio begins with Swati asking Me what have I inspected and what haven't.

Christina Roberston was the surprise Witness to this meeting - She's careful to be quiet, except when I mention the dates
on the inspections are wrong because of the FIREHOUSE application.

9:00 - KammeO -"Are you including the time I took off on vacation?.."

10:30 - KammeO -David Zeiger can't type.... ("none of the guys can type")

11:07 - KammeO - "All I'm saying is, I'm working as fastI can with what I‘ve got and they’ve increased the amount of
inspections..."

11:15 - KammeO - Get Me some help?

11:17 - KammeO -I'll go out and 'I'll knock out all the inspections, that’s not the problem. The problem is getting it in
the iPad and actually having the iPad work. And email it to whoever it's going to..

11:28 - KammeO -Sent files going to the OUTBOX.. not showing up...

11:40 -- KammeO - Never never land...

11:50 - l ASK FOR HELP entering reports and Why. l explain how bad and items don't Work With FlREHOUSE how My
neck HURTS.

(My neck still hurts - but | could not pursue BOTH this discrimination situation AND the worker's comp
situation.)

12:03 - Swati, "Nlake O&Nl your priority.."

12:04 - KammeO "..it needs to be finished first, because if you touch the iPad it'll delete it."

12:30 - KammeO - talks about how entering ONE large building on the iPad takes a long time - looks like nothing is
being done... while being out on campus inspecting makes the report of the large building wait... Cannot load new
buildings without completing the previous, ongoing inspection or it will be lost and have to enter it all again.

12:52 - KammeO - "I've been with James ONCE in fifteen years"....

12:55 - KammeO - "If you compare My inspections with other people's inspections.."

12:59 - Chrish'na Robertson: "We're geth'ng off topic.."

13=00 - Kammeo -"I am saying I need some help with the iPad.."

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 33 of 67
13:08 - Swati - "that's not oin to ha en.."
g g pp 45 7,@\/, 05@77

 

13:10 - KammeO - l'all I can tell you is I'll do that best mat I can..."

13:15 - Swati "Fine imme a list of what is endin accordin to the month it was assi ned to ou..."

       

13:28 - Swati, "Next, annual leave..

13:40 - Swati tells me no more annual leave will be approved until I am caught up on inspections.. just so you
know.. because we need to catch up on inspections.

13:58 - KammeO ~ "That‘s the flrst time in 23 years anyone has ever told Me that - but that’s good, go for it."

14:05 - KammeO - " Welll can we get an inspection program that actually worlG?"

***Swati talks about she is already working on that -- but yet this is JULY 2015 and January 29, 2016 I am sh`ll using the
exact same program on the same iPad.

14:50 KammeO - "I'm the one that’s been living with it since 2012.."

15:33 - Swait - "I just want you to know that if you submit anything it is not going to
be approved."

15:35 - KammeO - "till When?"

15:38 - Swati - "Unb'l ALL assignments are caught up on..

15:40 - KammeO - "then get a program that worl<s.."
15:42 - Swaij - "I willl I'm working on it"

15:44 - KammeO - for YEARS I haven't used any vacation and I was almost to the brink of having to throw
it away, so it's like fme, I'll use it Y'a|l don't want me here the wav vou treat Me is emotionally

abusive..the wa I've been moved ...... Not ou s ecif'lca|| - THE OFFICE - so.. it's like oka I've ot
vacation timel I will get out of your way.. let Me go... you know...

 

16:03 - KammeO - You don't want to work with Me on firehouse, you don't want to listen to anything I
have been trying to tell y'all... I have given LISTS and lists of things..

16:30 - KammeO - it's not about cross train - it's about databases that keep having to be set up.... when John Fellers got
the manager position I was the one that gave him all the data that created the original excel spreadsheet ihat was

out inspection program, he got all that from Me. Years & years & years of typing up stuff and having it approved, saving
the sentences that were approved so that it was consistent...

16:55 - KammeO - I have all this experience and I'm just left to sit in the corner...
16:59 - Swati - Okay KammeO, What happened in the past...

17:02 - KammeO - It's not happening the past it totally happening all along, it just got bumped to you...it's
new to YOU..but it is not new to this department

17:11 - Swati - I don't want to pass a judgment or a comment on that because I wasn‘t involved. I am not concerned
with ihat. Whatever happened in the past needs to stay in the past..

17:16 - KammeO - it's not in the past because it's not fixed yet...

17:20 - Swati - That's what I'm saying, it's going to be fixed..

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 34 of 67

17:28 - KammeO - I've been working on an unfinished product for three
years

17=31 - Swati - "I know, but 41 N' C\t “ 03%77

 

17:48 - Swati - We need time to set those things up...

17:55 - KammeO - "I've been hearing THIS for a long tjme..so okay, I believe you, go ahead

18:06 Swati - Forget who said what in the past..

18:07 KammeO - I'm not going to forget because it is WhatI am still working with. How am I supposed to forget when I
am still having to Work with it?

18:13 Swati - I'm not asking you to forget anything...
18:14 KammeO - You just did

18: 15 Swati - We|l because that does not concern me..

18:17 KammeO - I'm still Working with the SAME STUFF
18:20 Swati - We|| because I don't have any alternative

18:23 KammeO - Wel| then don't tell Me to quit thinking about the past, because don't think about the past means I don't
have to work wiU’l FIREHOUSE the Way it is.

18:30 Swati - You have to keep working with it
18:29 - KammeO - We|| then it's not the past
18:31 - Swati - Okay Hne if you want to gripe about it that's fine

18:35 - KammeO - I'm not griping I'm just pointing out we are not, we're in the current and I'm still
working with the same stuff that doesn't work

18:41 - Swati - YES, I agree. I agree. I'm not saying that you're not making a
legitimate comment here that it's not working, I'm not saying that, that's not working..
I'm just saying that just give me some time to give you another finished program

18:54 - KammeO - Thats tine, but in the meantime I'm - don't plan on Me being happy Working with the same program
that doesn't work

19:00 - Swati - I am not saying that You should...
19:03 - KammeO - It's not even about being happy, it's about being able to get it done in the time there is to get it done.
19:07 - SwatJ' - Kamme, others are doing it, I don't understand why you have a problem doing it?

19:12 - KammeO - because My neck hurts, because My ear turns on & off, because I am fed up with trying
to get it done and it failing. You know, for the first year the daggum dates are wrong...

19:26 - KammeO - and Fegan didn't know how to get the right date...

19:30 - KammeO - The fact thatl have to change the setting in the iPad for the date I want the report to read is crazy..

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 35 of 67
19:52 - KammeO - Richard Fegan says, oh it doesn't matter, we don't know how to fix it, just do it.

19:55 - Swati - That's why we are trying to find SOMETHING that will work better ..... and have the same
issues again... ,

20:17 - KammeO - I'm just telling You the reports You are dealing with are

false... Li; i/) _, @\/ -» OZ@/H

20: 19 - Christina Roberston (softly) - The inspections have to be completed

20:23 - KammeO - Okay.

20:33 - Swati - Yes. I just Want you to know I cannot approve anymore annual leave until we are caught up on
inspections.

20:34 - KammeO - I figured that was coming since I've been getting hit with the FMLA..paperwork all of a sudden.
20:38 - Swatj - Well I don't know about that...

20:39 - KammeO - Yeah We|l nobody ever gave it to Me back when I had MRI's, cat scans & a spinal tap, but they sure
think about it now..

21:17 - Swati - Okay..um..next... since we have so manv that are to be done.. give me a list..

21:53 - Swati - Hours of work, I understand You are on a flex schedule for 830-530? We cannot come ear|y, we cannot
stay late..

22:09 - KammeO - fine with Me.

22:15 - Swati - Last thing, Safety Net, calendar check outs, I notice that..
22:34 - KammeO - I don't know how long it Will take Me from when to where?
22:36 - Swati - Yes, but...

22:47 - KammeO - It's an "ALL DAY" thing... so You know WHERE I'm at...

22:58 - Swati - Yes but..

23:29 - KammeO - hmml it's veLy tedious that calendar & there's 2 different ones and it doesn't always go to the same
QB§_-:

(Safety Nl:`l` is not a time clock.. it's an online checkout calendar. One of the choices it has is a box to check for "ALL
DAY.) - veg( tedious time-consuming calendar to get to, to enter....

28:38 Swati - I need that schedule of when & where... whatever is pending.

24: 16 KammeO - ???

(So Swait is ASKING ME for the info of what is past due??? AND taking away any use of
vacation time??)

25:30 - Swati - Do You have any questions?
25:39 - KammeO - UnUm? Not thatI can think of right this minute...

25:44 - Swati - ..explains about not being able to sync the iPad..without it deleting the other ones.

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 36 of 67
25:56 - KammeO - Yep, far as I know, yeah, I wouldn't touch me iPad without getting it finished

26:03 - Swati - I told You I cannot approve anymore vacation leave ..okay? um.. I want me schedule.. I want

what's pending...I want the status.. if You've insoected, I want to know when You are planning to inspect...when do You
plan to inspect...k

0 » ‘ 056
26:20 - Swati - and I told You, You cannot work past 830 to 530 Lll"’ l 7 0\] jj

26:35 - KammeO - So what is this exactly? What does this mean (me form, it's me Hrst time seeing a review form) ...is
mere a definition behind writing all mis down?

i 07-17-2015 swati vac-inspec.m4a

26:39 - Swati -M want to document it.

26:42 - KammeO - For? Because mis is me first time I've ever sat down and everybody is like written it down in mis little
happy sheet of paper??

26:48 - Swati - Because me work is pending...I want to know why it is pending? If You give Me a schedule and You don't
stick to mat schedule

26:56 - KammeO - Right, w- this is the first time You've ever asked Me all of these things, but You wrote
them down? So, I'm curious why We are documenting?

27:03 - Swati - I don't know why it was not asked before? Oka£. Honede I don't know.
27:08 - KammeO - So, basically You're just making sure mat You prove mat You asked Me mis?

27: 12 - Swati - No I'm just making sure it gets done in me time You say it will be done.

27:16 - KammeO - Right.

27:17 - Swati - just so You understand that it's a lot pending, it's not just one assignment or two
assignments pending, it's multiple, like 16 or 17 assignments pending , not counting July

27:30 - KammeO - Hmmm?

27:32 - Swati - because I did not even count July

27:33 - KammeO - That doesn't sound right - I'll have to go look and see?
27:34 - Swati - That's fine I want a complete list from You... okay?

27:37 - KammeO - Yeah? That doesn't sound right. Doesn't seem right at all.
27:42 - Swati - just forward Me mose emai|s, k?

27:43 - KammeO - Mmhmm.

27:48 - Swati - Sign here?

27:50 - KammeO - Okay, I want a copy of mis.

27:50- Swati - Sure.

27:52 - KammeO ~ Where do You want Me to sign it? Are You going to date it?

28:01 - Swati - MmHm.

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 37 of 67

41 |*l - cv - 05377

 

__
From: Yetter, Sheridan L
Sent: Friday, July 24, 2015 10:40 Al\/l
To: Kuh|mann, Jim R
Cc: Cumbie, Donovan R; Satterfield, Anna l\/l
Subject: FMLA denial - Kamme O.doc
Attachments: FMLA denial - Kamme O.doc
Importance: High

Hi .lim,

l talked to Christina Robertson and have edited the attached FMLA denial letter for Kamme O. Ms. 0 did not indicate a
need for Fl\/lLA, however, based on best practice and training received, the department sent the notice of eligibility for
FMLA and request for physician certification to her because of the pattern and frequency of absences. Because of this,
l don't think we should cite specific absences as being 'unapproved', however, l think we should let her know that, until
the certification is provided and a determination can be made that her absences for a particular condition would be
covered under FMLA, she can use accrued sick leave and vacation (if she no longer has sick leave) for absences that
would qualify for sick leave. Can you draft a letter that communicates this?

Also, there is another issue that might interfere with Ms. O's use of annual leave for sick leave purposes. Could you
please give me a call to discuss? lf you can call on Monday (7/27) before 10:00, Don and l should both be available.

Thanks,

Shed

fiWeA@§/P$é W§‘”& FA;::
% parr pugh/46 /W
§ch FMLA WA§ ’®W§M
/\/lg ma USN¢/ §‘@{‘ W”

" 1210 l\l@r Ml/WLA,
l t 1910 NUV §lel\/ platt ca rrf,
rig 1 910 Nmrr@.\/§r /,;\MU,

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 38 of 67

41 |’] -c\/ - 03877

July 23, 2015

Kamme O

PO Box #1231

College Station, TX 77841-1231

Dear Kamme:

This letter is written to notify you of your leave status;-and-infema-yeu-that»previees

   

You were notified in a letter dated (7/16/2015) that you had not provided us with the
necessary information to certify your FMLA leave and were given an additional seven
calendar days to tend to our request. We have not received the Certification of Health
Care Provider form or other sufficient information as of today’s date. Unless and until the
required documentation is provided, your absences below will not be designated as
FMLA|ea\/e_ A'. a --.¢ -. -- . -. - ¢-.. .r' ¢. .- il A.=- ».

l M,g{z@/y U§Z`V ‘ l » §lc>i¢ M\'E
eHsQMs_a-.oo_heu¢s 5/¢7!1»677@ *”_ A§ U§UAL»
sizem4s-¢edheurs ' \ Pm/\ / Q§@de§i'
messrs-eschew pat it<lO §1@`[@? W FMLA

/Dtl§ l§ v\/W)’ jach dep H/<i/\th/§Q,
System policy requires that you provide appropriate medical documentation to account
for your use of sick leave in instances where you are absent from work due to your own
medical condition or your need to care for an eligible family member who is ill or injured.
According|y, please note that your use of leave during the date(s) above is under review
to ensure you have provided sufficient documentation to account for your absences.

         

 

Please do not hesitate to call me at 862-8114 if you have questions about FMLA leave,
your leave status, or the contents of this letter.

Sincerely,

 

Liaison or appropriate designee date

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 39 of 67

  
  

Q._Katnms

     
     
 

From: ' g gj
ro= metals ~ 7/ G\/ a 7
Cc= mbeds_on.&nliaina§; Elelds.lctm.l§

B°C= SSEBME€L.J£IIY_B

Subject: FH notes ,

Date: Thursday, August 13, 2015 4:01:39 PM

  

Al/a/;,/ /Z, za/§

To who it may concern, 1/ 79 l/, /, §'/73<“/\/_§&7&
Since late 2012 l have attempte 0 address assorted issues as they presented themselves with the

FireHouse inspection application by keeping notes, creating lists, screen shots, verbally expressing and
numerous emails to Richard Fegan, James Rainer and Christina Robertson, and then David Zeiger. Before
David Zeiger edited FireHouse earlier this year (2015) the application literally had 26.5' of items to scroll
through, some of them repeats. l have been personally inspecting buildings at the TAl\/lU campus since 1999
- and it is beyond me why no one at EHS has ASKED for any input or what items do l find most often?

Here l am again - as l edit the 0443 O&l\/l inspection - l took time to SN|P a few issues, noted
below. l have never understood why the inspectors are forced use a tedious, undependable application on
an iPad, instead of creating a WORD document and saving it as a PDF using a full size keyboard and
monitors. There are roughly 250 discrepancies listed for the most recent 0443 O&M inspection, but one
would have to count that up by hand because the FireHouse program does not number the individual items.

 

_lust a list of items to remind whoever deals with FH tech support:

1.) Default ”YES to All” (delete NA) would save having to touch the screen up to 19 times just to begin
an inspection. '

2.) Default WHO the inspector is - as building is assigned & sent. (lnstead of having to scroll & choose
self)

  

     
  

H does,not number each discrepa/ncy.
No need to have a place for the Z“d signature at the en fthe eport. (FH requires a scribble there)

- FireHouse - space missing between ”&/Unobstructed”

 

 

 

- FireHouse formats OUT of the available PRlNTER RANGE. (Potentia| that the occupant will not notice
items that fail to print) - `

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 40 of 67

4: 1 7-cv-03877

Complaint &Appeal Form "’li§A/t/iiij LiLi; MWANSNWQ@Q THK
Hon-facuity Empioyee dam M, …-/ 1

Prlvaoy Notlcro: State law requires that you bo informed that you aro entitled 101 (1] request to be informed about tito information
collected about yourself on this form {witt\ a few exceptions as provided by law); (2) receive and review that intormation: and (3) have
tito information corrected at no cirarge. To make raquesls. contact trrpolicy@lamu.edu or (9?9} 862-3331.

t`N§ritH§iitiNs Fiease provide the information requested on this termr This information witt be used by texas A&iit University.
Policy & Pracllce Revtew (P&PR) toiiowing tila procedures and timeirames referenced in System Ragtilation 32.01.02. Ccmpiainr
end Appeai Pmcess for Nonfacuity Employeos, and System Reguiarion 08.01.01. Clvil Righis Compilance. P&PR statf is available to
nrovide guidance and assistance during anv stop oi ilro nrocuss.

 

 

wreoRPmm-‘usrzmncxorzntuem

 

 

 

Kamme 0 11-09-2015 l
` Cnnml:\§nnm'r. frame Dati. 1 __ _ .
Occupational Safety inspector lil 801005252
rule inn
PO Box 1231, College Station, texas 77841 979-575~1091 oeil, 979-862-4040 office
i,iaiting Addxess Currezrt Pnone Nuirtl)or

 

bestiltanditnow.kammeo@gmaii.com _
kammeo@tamu_edu TAMU Environmental Health & Safety

limits address topticnaii neparrmern

08'13"'992 v 08-10»2015 and currently in effect
Daic of tide hare ot Action or incident mailed to this Complaint
1. What is the subject of your complaint (Exampie: Wages, termination, etc.)

 

I

 

 

Retaliation: Unable to use vacation time since returning from vacation July 2015.

 

2. On what date(s) did you discuss this complaint with the appropriate member of management?

08-10-2015, 11-0`4-2015

 

3. Wito is your complaint against?

TAMU EHS - Christina Robertson, Brad Urbanczyk, Swati Kale.

 

 

 

D:odi€nc to submit Comptoint form to 7 by o;dcp.m.

 

 

pate Ruccivcd:________i‘imo Rot:oluod:________ waived bg;_____~__;

 

 

 

t‘&i’t~t: Compiainl § r`tppaat Form b revised 0311€!201 2
6303 i'age t 012 @

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 41 of 67

4:17-cv-03877

lNSTRUCTiONS Provide nrslhand inlomtatlon describing your Complaint 8. Appeal. Aiso provide or list any evidence thatwouid
support your position and assist Poiicy & Prnctice Rcvlo'.'/ (P&i"R) with their inuosiigaiion. This form may bo duplicated li additional
space is necessary

   

traceapmuesoseserceersatozme
July 2015 l returned from an extended vacation - approved April of 2015. August 10l 2015 at the very first
"Monthly Review Meeting" l was informed that l would not be able to use vacation time "because
inspections are behind". The amount of inspections assigned to me is at least double what the past
decade's assignments were previously and EHS keeps ADD|NG MORE.

While inspecting Jack E. Brown, l noticed the emergency eyewash stations are all out of date. Having
been inspecting for Fire Safety 1999-May 2015, since EHS put all the inspectors together - l decided to
inquire about who is responsible? Swati Kale said EHS inspects the eyewash stations on campus.

Weil, if they are to be inspected annually - and the tags read 2012, WHO ELSE is "behind" on
inspections? And have

THEY been disallowed to use vacation time? Far as l know - l am the only employee that is or has ever
been disallowed the use of vacation time. This is why l believe it is retaliation for having filed a complaint
with TWC/EEOC after that restructure fiasco April/i\/lay 2015.

inspectors at EHS are all still doing the SAME jobs we have each always done - EHS likes to call it

"cross training" if someone that is a FlRE SAFETY inspector goes with an employee that is a LAB
inspectorl but that is not actually TRA|NiNG - it's more of a "see what l do? What do you do?" type
situation. There have only been TWO meetings of the inspectors together since the restructure May 1,
2015 and those were 05-05-2015 @3pm and 06-30-2015 @me.

lt appears that the EHS "Restructure" was actually to remove me from working with James Rainer and the
Fire & Life Safety Group, as l am the only full time FlRE inspector that was removed from the FLS group.
The three full-time men that inspected for Fire Safety related items - Evacuation planning, Fire drills,
building inspections, plan review stayed working for James Rainer. l have no idea who is doing the
evacuation planning now? Or the fire drills on campus?

l believe that EHS "restructured" to cover the sexual discrimination and retaliation (ignored, left out.

untrained) that l have been subject to for years. The discrimination that l have mentioned to each Chris

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 42 of 67

4:17-cv-03877

i\/iyer, John Salsman, James Rainer, John Feiiers, Richard Fegan and David Zeiger over the years at
EHS and also to TAi\/iU HR.

Basicaiiy, since May first, l have been physically relocated, re titled & positioned (without notice) and
over-loaded with inspections and paperwork as weil as absentee-micro-managed. lt is apparent that EHS
is now doing "ii/`ionthiy Reviews" of the inspectors - mine are the only meetings witnessed - in attempt
to create & document "faults" - to be used as an excuse to terminate my TAMU EHS employment

So far | have been to witnessed "Monthly Review Meetings" three times recently since 1999 =

JULY - 08/10/2015, AUGUST - 09-17-2015, and SEPTEMBER 10-21-2015.

The "Juiy Review" mentioned an August 3rd building inspection - and it was stressed to me to not say
"snooping" - that "saying snooping is unprofessionai".

The "August Review" had a theme of "i notice you've been wearing dresses."

The "September Review" left out that l had been involved in the Resident Ha|l inspections at alil until i
mentioned it myseif, and mostly stressed "LEAVE A'i' 5" and how | must write an explanation if l use my
ADMlN leave, When i pointed out that the TAMU policy on the ADM|N leave says an explanation is not
required - Swati Kale said, "This is a special circumstance".

October 1st i was sent another list of buildings to inspect - then at the 10-21-2015 i was given an hour by
hour list of buildings - a mix of October's buildings and July-September lists. | had already contacted the
October 1st list - for 16 years | have been given a list of buildings to inspect for the month and work it out
as it is availabie. The hour by hour iist, Swati Kale did not even speak to me about what i had currently in
process or had completed already. She's only been with me one time for two hours to inspect the sixth
floor of Biocker. Previous supervisors - Richard Fegan went with me ONCE and David Zeiger went with
me once also 04-09-2015. Other than that, Danny Banks took me with him on two of his inspections back
in 1999-2000. James Rainer has never taken me on campus to learn anything - and HE was my
manager for years, but he was too busy grooming John Feiiers to be the next Fire Safety i\/ianager when

EHS created James Rainer his next EHS position.

Chances are the overload of work, the vague documentation of "Monthly Reviews" that are more opinion

than factsl the absentee micro-managed double schedule situation is an attempt to fill up every minute -

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 43 of 67

4:17-cv-03877

so i won't be able to write my perspective to TAMU HR about EHS and what has been happening at this
oche, along with EHS has BEEN trying to MAKE me quit for so long i hardly can remember when l ever
actually felt my position here was wanted or appreciated?

After John Feiiers left EHS for HSC, l did give the Fire & Life Safety presentations for a few years and
received lots of positive feedback from that - even started receiving requests to give the presentation by
departments on campus. But then fail of 2013, Richard Fegan asked me to do a presentation for the
morning EHS meeting - and soon as it was completed, Richard Fegan came to me and told me he had
been told to tell me that l would no longer be doing ANY presentations He wouldn't say why or who. That
Was also the same fall that Christina Robertson told James Rainer that l was wearing a Haiioween
costume, and then James Rainer told Richard Fegan to come tell me to "go home and not return until l
was out of costume". One problem: | was not wearing a costume. And there was no notice at EHS that it
was even disallowed,

Pretty much, ever since l confronted James Rainer about ignoring and overlooking me for the previous
eleven years -the day he informed me that the part-timer Richard Fegan was getting the FLS Supervisor
position instead of me, even though Richard Fegan had no Resident Haii inspection experience and had
only been working for TAMU campus just over a year - and at that point, l had eleven years of ResLife
inspection experience, 17 years total TAlVlU campus experience (Which that position James Rainer
awarded to retired fireman Richard Fegan, would manage the ResLife inspections and campus building
inspections for fire safety.)

Since Adam Chavarria has been moving up the ranks of EHS so quickly since having begun as a EHS
student worker - Him being awarded that FLS Construction i\/lanager position within a year of becoming a
Teohnician ll, after l had applied for it numerous times previously - only getting an interview for the FLS
Construction position once, EHS had to do something to MOVE lVlE away from James Rainer - because
the discrimination is just STARK, BLATANT and REPETITIVE against me TAMU EHS via James Rainer
and EHS Directors have enabled him throughout it all.

Attached are Swati Kale's version of a "review". i looked up the TAMU form and filled out the facts of what

l have been inspecting because the "Manager Notes" Swati Kale writes don't justify that l am and have

@

been busy Working.

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 44 of 67

4:17-cv-3877

EHS department is such a mess - Anyone at TAMU HR listening?

From my perspective, it has been entirely frustrating how fast TAMU is to accept credit for anythingI while

actively avoiding responsibility for everything having to do with the discrimination and miss-management

of TAMU EHS. l am seriously curious if there is actually an investigation into any of this or not - so far

what l have received are certified letters of denial. And of course "Open Records" avoids actually sharing

information. v

Reminds me of that "Emperor's New Clothes" story - l'm likel "HEY?! The Management is basically

NAKED over at EHS?! Anyone besides iViE notice this?"

Case 4:17-cv-03877 Document_10 Filed in TXSD on 02/01/18 Page 45 of 67

From: 1912th

Ta= Q._l§emme

Subject: RE: 0386 Eye Wash Showers 2015

Date: Wednaday, November 04, 2015 3:16:44 PM

4:17-cv-03877

 

Thanks for the information. EHS tests the showers.

Swati

From: O, Kamme

Sent: Wednesday, November 04, 2015 1:13 PM
To: Kale, Swati G <swati_17@tamu.edu>

Cc: Urbanczyk, Bradiey D <burbanczyl<@tamu.edu>
Subject: 0386 Eye Wash Showers 2015

FV| -So far, it appears as if the eye-wash showers in lack E. Brown are out of date:
Who is responsible for inspecting them?
KO

 

 

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 46 of 67

4: 1 7-cv-03877

Out of Date Shower Tests

1220-1223 Animal isolation Buiiolings - 2012
1508 l-§Clbgood - 2013

0969 Bus Operations - 2012

1040 Carcliovasculer Patii~ology tab - 2013
2944 Center for Foocl Safety - 2013

09?1 Commissan,f Dining - 2013

0516 Co mputing information Systems - 2009
2063 Conser-.'ation Research Lab - 2013

0513 Doherty' - 2013

1232 Equine Pauiiion - 2010

0435 l-iarrington Education Center Office - 2010
1165 l-iazarclous Waste Storege - 2013

1297 Heat Transfer Research - 2004

1098 i-lyper|oaric itesearch tab - 2013

0432 Lengt'orcl Architecture Center - 2009
0740 l\./lcNeW Lab - 2011

1505 it.-lest S`clence and Technoiogy - 2009
2441 Ri\.'erside Pump Station - 2013

1095 Nuclear Science Center - 2013

0970 F>hysicai Plant-Grounds wielntenance _ 2011
095? Purchasing and Stores - 2013

1560 Recreational Sports Complex - 2011
0423 Scoates l-iall - 2013

0806 Soi| Testing tab _ 2013

1904 Texas Center for Prectinicai Studles - 2013
0953 Transportation Servi=:es - 2013

2090 'l'l'l Safety Diuision Hangar - 2013

1035 ‘~.»'eterinar\,' Smal| Animal Hospltal - 2013
4050 Waste Water Treatment - 2013

0004 TEEK Waste Wate'r tab - 2013

8578 Water Lei) at Central Utility Plant - 2013
4053 WW`l'P Disinfection L:ab - 2012

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 47 of 67

4:17-cv-O3877

   
  

 

 

“ inspections b tab b mercency Eyewash &qho‘l'er >r_ v|"$?_l`| 5eorc-"i E. )

File Edit View_ _'Tools i~i_elp-

 

 

 

 

g :'O_rganize"-' Includeiniibrary" §ur"nli_j_-` New folder '

 

!_'__L'.’_'._'_BZGM A ' §§ Cbain Shower picture

 

9 “""' EHS'SSGPYH _; §§ Eyewash & Shower Metrics

" .“ EHS'SSGTYR _ §§ Eyewash 81 Shower Reports

"" t EHS'SSGVYIZ j §§ Eyewash 81 Shower Surveys

i> 1»-§" EHS-SSHP\'IZ l le out or sERvIcE shower rag

n 515 EHS-SSHQY12 z §§ Safety Shower and Eyewash Station Reports 2010
r> ‘:¥ EHS-GZNJVLI __ §§ Safety Shower and Eyewash Stations Reports 2011
:-.=-:‘ EHS-moen b rt shower stuff ror Marr<

s §§ sns-?wnevl §§ Templa:es

t> 233 EHS-7ZN1VL1 nfl EMERGENCY EVEWASi-i SHOWER PRESENTATION
,;~, ‘_.;I_§ EHS-$ZN;\/Lj_ 4 ':}i Emergency Eyewash Inspections_SOP for Departments
9 __1 EHS_B4HSVL1 51 eyewash & shower survey 2012 counter Blolg

b '_,‘ j EHS_B§pHBz i§i:i Eyewash Recommendation 1

h 13 EHS_BVZQBPl " E§_g§`"jOut of Date Shower Tests

b rig `~. EHS_BVSPBPl l E,'~ Price Quote on Fisher Scientific Eyewash Station

D §§ EHS_C6838V1 li__vi~§ Shower Recommendation (2)

h c EHS_C68WV1 Qi§ishower_eyewash Master List

o 'L EHS-C69X7V1
l> '..Lj EHS-CGB48V1
EHS~C6BZ7V1
EHS-C6C38V1
EHS~C6C58V1
EHSD-AWALKl
EHSD-JW)ACK‘
EHSD-URBAN(
EHS FZHSVLl
ehs-fs. cperatic

l`"e". F.‘-' 515 fix

l
1

31
M .l?.'

/¥ll;:i tr

 

Case 4:17-cV-03877 Document 10 Filed in TXSD on 02/01/18 Page 48 of 67

Use of Vacation Suspended without warningluly 17, 2015 to November ‘

`N" 5 2b1'5 ` 1 ` o b 2015 Ja a 2016 l ' ' `

 
   

5.'1»\11»»‘."» "w;l'.h§~'~.l ' »
1 ~_1-~ ,. ~; .~x. :-» ;..'~, '..‘-\ 'J- r`», ~.~.'¢' r~x_ rn

:*!_!{ Terminaied 477

‘“ ".'T= ‘\. w '.'.'»'-.‘- l-' l"~

 

 

 

 

l
1"`{;§"'["1"~, } :2 13 f '14' 11 o r n l ~Il l - - - l
!'§é ; m :'1`,'_ w w sr:. 20 ,'T\~‘ "2 13 "' 15 l'm;`.’_ mmaf£ve_ l 7 §
;2_~ n ll _ , . `_ m m 91 nw |r;_§ behindtoTAMU Pdi€¥ '
LT w v- 21 wl 511 -' ~'-
~__. '.:r.r"
_` 1

 

3 days after submitting a written Complaint to TAMU

From: |=n w l -1 .
T°= , h PPR-11_10 201§, about the eye vsl/ashes beng VEARS
ce= mm._emiizx.m behmd mspectlon. {Same supervisor, male mspectors}
Subject: Annual/Vacati»on Lea'.'e

Date: l "el 3 ",u'¢:\r ""” ,.»1» ,~.

         

 

  

K_.H.m.m:, 0 { Defir\e "progress"? [ Which reports? How manv?

'hr-: r~:':str‘icli<;)n on your .;mnua[/val:t=ltion |der-;-. i-_~.

loading r@mo~.r€~rl.

Baslzd on chip 12 l 'a-,'~ ;~j thre rczstriclio:'\ ¢'rxgn\,r 139 I'Qinste'zl's§l;l.

  

The NEXTeva|uétion/review meeting: November 20, 2015. swan Kale stood over
her desk beating her Flsts on it, while yelling for over an hour - While John Fie|ds just sat there.
Swatl Kale yelled- derlng Me to file another complalm.

Thanks,

Swati
Swati Kale l G.‘:`»&H ln~:~|:»¢?clol Sup_)»?rvisor
Erw`n'cn'rmenlal Health and Safety l `l";=,.v.as A&l\'l University

11:172 TAMU | C‘OI|Q§',P Statinr\, TX 7734`3-4!172
4?17'€\/'03877

13|1:€71.7"§?.345.7067 | f.a.~;: fl?':).»‘:`»fl§.l?»/F.I~?. § C.W§Ti |Z§n§j(gg;ll P;§rg

Case 4:17-cV-03877 Document 10 Filed in TXSD on 02/01/18 Page 49 of 67

DlVlSlON OF FlNANCE AND ADM|N|STRATION
ENV|RONMENTAL HEALTH 81 SAFETY

' W, , TEXAS A&M

UN'I`VE,RSl‘TY

 

4:17-cv-03877

October 20, 2015

TO: Kamme 0
RE: Position Tit|e Change

With the restructuring of Environmental Health and Safety, your title as Fire inspector ll| has changed to
Occupationai Safety and Health inspector ll|, effective |\/lay 1, 2015.

Sincerely,

@/W)h w@/,)M w»

Christina Robertson, Director

1111 Research Parkway
4472 TAMU
Co_l|ege Station, TX 77843

Tei. 979.845.2132 Fax. 979.845.1348
https://ehsd.tamu.edu

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 50 of 67

4:17-cv-03877

Response to l\/iemorandum dated 10/21/2015: November 9, 2015

TO: Swati Kale
Occupationai Safety & Health inspector Supervisor

FROM: Kamme O
Occupational Safety & Health inspector ill

SUBJECT: Response to the Performance Expectations i\/lemorandum

in response to the letter given to meat the ”Review of September" meeting listing ”Performance
Expectations", as there are assorted endless perceptions of everything and everyone, l would like to add
my own in relation to the recent “Reviews" & ”Expectations":

l have spoken With you regarding deficiencies in the quantity of work completed
especially in relation to inspection assignments Your failure to complete assignments in
a timely manner continues to have a negative impact in our office When you do not
complete work as scheduled departmental obligations to our customers and staff are
not adequately being met. According|y, my expectations and other comments follow:

' '~¢ ..:,. ',”, ..…_..,. , ', . .. ..“r_.;.~ ._:t,~ ,`~. .s. .. , e-"~_*. ‘ .~_ .~ ::-d'-:= :;~.»":‘;::~?"_ '-.'“;.' ’f~,:r‘~=.`:“:':i .;:" ,:'t'~,',:, ' ,': "_ :~~.' ;

 

 

   

 

The above paragraph from the ”Performance Expectations” Memo includes no comment about the use
of my vacation time since the restructure of EHS last April/i\/iay; nor is there any mention of the
|NCREASED work load assigned. While Brad Urbanczyk spoke openly about REDUC|NG the FLS
inspections ”to make time for cross training" at the .lune 30, 2015 inspector meeting, the list of buildings
assigned to me for July was approximately 800,000+ sqft, and my .|uly vacation 7/20-7/28 had been
approved since April. The inspection list given to me for September is 4 times the amount of inspections
| have been assigned during the previous decade. Given the hostile work environment created by the
serious lack of communication and any personal regard for the EHS employees affected by the assorted
changes within the entire department, and that l had over 300hrs of vacation - l opted to take a REST
from the instability of the hostile work environment at TA|V|U EHS for most of the month of.lu|y 2015.

Ailow me to explain just a few items that l perceive as a hostile work environment here at TAl\/|U EHS:

1. While the EHS managers were instructed i\/ionday, April 20 to inform their employees of the EHS
restructure the day before the EHS morning meeting on Tuesday, April 21st -l only received a
phone call at 7:22am to my personal cell phone the morning OF the EHS 8:30 meeting. And l was
only told that the ”restructure would be announced" at the EHS meeting, no specifics. -But he
did mention that he would not be able to be at the meeting because he would be ESCORT|NG
THE TEXAS STATE FlRE MARSHAL - something l have never been asked to do during the 16
previous year's employment for TAMU EHS FLS group.

l learned of the specifics of the EHS restructure when the person seated next to me in that
4/21/15 EHS meeting, Jeff Truss, showed me the copy of the PDF he happened to have with him
of the new ”Organizationai Chart" for TAMU EHS. THAT is how | learned that after almost 16

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 51 of 67

l 4:17-cv-03877

YEARS of working with the FLS group - l was no longer FLS. And while, far as l know, | am the
only FLS employee that currently has certifications for Pyrotechnics, Flame Effects (since 2005)
and the Fire inspector l & || - the MEN listed under ”Construction FLS", one started at TAMU
EHS in .lanuary 2015, the other October 2014 and the other has gone from part-time student
worker locating fire extinguishers at EHS for about a year and a haif, to a Technician ll and then
a year later Assistant Manager FLS over construction at TA|ViU - a position | expressed interest
in to James Rainer and Chris Meyer since the position was originally introduced as a
Construction Supervisor position 2007.

And | believe Adam Chavarria may have even received yet another promotion to Manager since
that, but l am not exactly certain at this time. The irony to this is l have been an employee at
TAMU University since 1992 and 4 years of that was with Construction Crew l as a carpenter.
Yet, over & over again l was excluded from learning the FLS Construction position - while the
MEN hired over & over again did not actually HAVE any construction background and some did
not have any TAMU campus background. The first time the FLS Construction position was filled
James Rainer told me the reason l did not receive an interview for the position was because l
”did not have construction experience”. The second time that position became availab|e, l not
only did not receive the opportunity of an interview - but as soon as the new man was hired,
James Rainer came to me and asked me to share my study notes for the Fire inspector
certification with him. Add to that l also have four years of actual drafting experience, it is
beyond my comprehension exactly why EHS overlooked my personal experience or talents for a
position that | expressed interest in learning over & over, other than that | am female, am not a
retired fireman, have work experience rather than an Aggie Ring and did not play a professional
sport.

2. The first initial conversation with my ”new assistant director" Brad Urbanczyk was April 28,
2015, when he walked into the office after iunch, (where i had been seated observing men be
trained and included by James Rainer over & over; within the office located across the hall from
me, asi had been isolated away from all the full time FLS employees when James Rainer
relocated them to that interior office years before), and informed me in a rather ”authoritative"
tone- that i would be moving to Babette's desk as of May first. Brad Urbanczyk's tone to me
that day was if he EXPECTED an argument. Brad Urbanczyk was asked by Babette Perkins on that
|Vionday 4/20 to ”l\/lAKE SURE the restructure was explained to KammeO, because James always
leaves her out - doesn’t talk to her.” And far as | can tell, even after it was suggested to him,
Brad Urbanczyk did NOTH|NG as my soon-to-be~assistant-director to make any part of the
restructure less of a personal assault for me as a 16 year veteran of EHS, 23 years TAMU.

3. Add to this list - May 12, 2015 while logged into my TAMU SSO account, l noticed that my title
no longer read FlRE |NSPECTOR |ll, but it appeared to read Occupationai Safety inspector ll|.
And that there was absolutely NO COMMUN|CAT|ON or explanation to me. Not even Swati Kale,
my ”restructured” supervisor was aware of this title/position change or why or when. Only now
at the "September Review" meeting am i handed an official letter stating the title change
”occurred May 1, 2015", and l had to request & insist to get actual documentation of the
title/position change - and it is currently dated 10~21-2015, having occurred 05-01-2015.

4. There's the amount of work it is both physically and emotionally to submit a formal complaint to
the TAIVIU HR within the 7 day window.

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 52 of 67

4:17-Cv-03877

5. The assorted retaliations - the increased work load, the surprise ”witnesses" to the all-new
"Monthly Review" meetings that so far have been more about personal perceptions than actual
FACT - The first one was about an August inspection on the July Review - about how ”saying
snooping is unprofessional” - even when you, Swati, agreed that SNOOP|NG is what inspectors
DO. Based on one floor, two hours of inspecting the 6‘“ floor of Biocker- while l was
accompanied, l was not informed that l was being critiqued orjudged or reviewed, until l sat
down in that surprise-witness~EHS Director-July~review-meeting 08-10-2015.

6. The theme of the ”August Review" meeting was "i notice you have been wearing dresses”... and
then on & on about ”wearing pants”, under the guise of ”well WHEN you are trained to inspect
LABS" - which l am not trained to perform lab inspections and do not inspect labs, so what was
the deal about hassling me about wearing dresses exactly? There has been no training about
”dress code”, so the mention of it in what l was told would be a REVlEW of August was a
confusing surprise and felt more like a personal assault.

7. Since this ”Review” meeting is 9/1-10/15, and l began working 8-5 September first, instead of
the 830-530 as l did previously, the current theme was ”You must LEAVE at 5” or ”|et me know”.
|'question what the big deal is about if l were to stay - because employees at EHS have keys to
the building and the lD slide access to enter AND l am not paid overtime. Seems to me, that
since l have changed my schedule from 830-530, where l was frequently bothered about what
i\,/ilNUTE i ARR|VED - speculation, as there is NO official time clock - and since l am arriving with
the other 8am EHS employees now, the new focus of EHS is ”What time | LEAVE" - as if l am
being paid overtime.

8. There's the last minute ”Performance Plan” to create and submit. And then the very vague
Performance Plan in PATHways for 2016, with no meeting at alito discuss any expectations
beforehand.

9. October 1“1 received another list of buildings to inspect, by October 2"d | collected the
information and phoned the proctors, alerting them l would be inspecting the buildings they are
responsible for this month. Then 10/21 during the "September Review" meeting l am handed a
revised list of buildings, scheduled by hour & day. And there was absolutely no communication
about who l had already contacted or what buildings l have already inspected? Just a new
detailed list - and while the MEMORANDUl\/i reads:

You are expected to:

¢ Fo|iow the attached assignment schedule for performing inspections
documenting reports in Fire House, and completing reports for final
submission

\..`;s~¢~=\_a.?rr:.a.._.c..,.-- y

          

What l was verbally instructed was that l ”do not have to go EXACTLY by this schedule." l can
only speculate how this ”scheduie” will be used in the next ”Review Meeting".

10. Since the Performance P|an was vague and the Occupationai Safety inspector il| position reads
that it requires a AOHST, ”OHST preferred" - During this ”Review” meeting - l inquired about
receiving training for that? Swati informed me that the position description currently listed on

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 53 of 67

44

4:17-cv-03877

the SSO TAMU website is due to be changed. | said, ”|f that's true - write it down and sign it",
that l would like that ”the certification is not required", in writing. You, Swati, asked me why l
needed it in writing. The answer to why is easy, given the hostile work environment = the so
called ”restructure” of EHS - where employees were moved, relocated, re-titled and reassigned
seven months ago but continue to do the job duties they were performing previously = l have no
reason to trust what TAl\/lU EHS may tell Swati Kale to say to me - and evidence requires more
than hear-say. And that if what you say is accurate, why not write it down? And how ironic that
you asked me WHY l wanted everything in writing as you currently documents the ”month|y
review” meetings, also with a witness present, which onlyjust began being performed as of
August 10th for the month of July 2015. ~ The ”restructure” was announced April 2015 to be in
effect May 1, 2015 - more evidence of a serious lack of planning by TAMU EHS.

"'I¢W. h.lJ-¢-» ~»~»._-l-%-- -£-

 

Reports are expected to be completed timely using the resources providedl

,,

While there is no mention of how often the iPad FireHouse application fails to sync or sends the
report into the OUTBOX. How many years l have created lists of issues with the iPad and
FireHouse application - emailing them to Richard Fegan, James Rainer and Christina Robertson
numerous times. There is no regard for the ergonomics issue of having spent over 3 years
scrolling through 26.5 feet of the inspection program itself. lt took 33 taps for a report that had
no deficiencies from 2012 untilthe revision spring of 2015 (currently it is 16 YES TO ALL taps) -
without the use of a mouse, because the iPad is unable to perform with a mouse - causing
severe pain in my neck from the repetitive strain, but apparently since my head is still connected
to my neck and pain itself is not visual, the discomfort, the tediousness, the dependability issues
of the FireHouse application are of absolutely no concern to TA|V|U or EHS - but apparently
FireHouse iPad failures have been helpful for EHS to attempt to paint my personal performance
as the concern - how ironic as l can only do what l can do with the tools available to me - and
they have been seriously sub-par since late 2012, Also the ”performance expectations” were
edited in PATHways by James Rainer 2013-2014 from ”inspections 95% complete" to a 3 day
turn around for inspections There was no discussion prior to this change and when l inquired
about the change, James Rainer basically lied and told me, "The description is a work in
progress.” ('lt'sremainedthe' same verbiage since'then.)" Also, the supervisorsand managersat'
EHS are using FireHouse on their full size PCs, generally not actually entering reports on the iPad
itself- so easy for them to misjudge the employees actually having to use that little liPad for full
time report writing.

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 54 of 67

4: 1 7-cv-03877

12. Next is the:

o You must arrive at 8 am and leave at 5 pm daily as you have not requested a
flexible work schedule Any variation to your hourly work schedule requires
prior approval by your Sjewisor

 

f ¢‘.'.r'_'r m”~'._‘" `

 

As of the date of this ”review meeting” 10-21-2015, t only recently as of September first
changed from 830-530 to 800-500, does EHS think l forgot already? Previous years EHS harassed
me about what i\/ilNUTE l arrive - and now that l can observe EHS employees arrive to the office
myself because i am no longer the last employee to arrive, EHS is all about telling me to LEAVE. i
am amiss to exactly why this statement is included in the ”expectations” letter other than more
passive aggressive retaliation, asi have only requested comp time once after having been locked
in a resident hall room during an inspection, when the doorknob fell off.

13. Then there is that position title statements

- Use your job title of Occupationai Safety & Health inspector iii for ali business .
matters iil.'

r_

 

lt was just September 2013 when my title and position of’ Safety Specia|lst was reconfigured
and renamed ”Fire inspector ||if'. There were announcements about the coming
announcements, about the changes to come, and when, and what for, and why. What a stark
difference that situation was from how the 2015 restructure of the entire EHS Department was
handled by just a few sentences during the EHS morning meeting April 21, 2015. Although i do
remember how the 2013 EHS stressed the added expense of all the employees having to update
their identification badges and business cards - as | was instructed to wait, to ”save EHS
money”. This year there was NO notiHcation or explanation, because l noticed the title change
myself, on my SSO iviay 12‘h, but here it is included in the performance ”review"?

Emotionally, l have still been waiting to actually be able to learn and perform that reconfigured
2013 Fire inspector iii position description- -the manner in which the EHS' restructure” has
been carried out seems even less actually official. Ciearly, ali it took was an update to the online
listings ofthe positions, because that’s about all EHS management actually bothered with. And
even that didn't stick because as of September 1st -3rd my personal SSO TAMU account and my
listing as staff for TAMU read ”Fire inspector lli" again, until l mentioned it to you, Swati Kaie,
09/03/2015 and you informed EHS.

Noma Mo|or C|ass TliielDapanmem Oillco (OjiLocal (Ll Phona

Fire inspector ll|
En- ircnmental Health & Safety

+1 979 862 -‘0-50 iO)

 

 

 

.> \‘ " Pecpie Search
i _ ' Department$ean:h

K:rmmeC Enrer a partial or complete name to search

z' ` serve

g °mm:y Srzinrrm,iin:cc§=txlm[ minimum
_ lowsMMUmve¢siy}Wclnms!er

 

 

 

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 55 of 67

4:17-cv-03877

14. Lastly listed in the letter there is this:

¢ i.,eave requested other than sick leave requires a reason of absence for that
leave, Such leave can also only be used for sick leave once all sick leave is
exhausted

When l said to you that TAMU Policy does not require an explanation, you told me, "This is a
special circumstance."

Researching, neither SYSTEM POLICV 31.01.02 nor 31.01.09 mention anything about a special
circumstance.

 

 

 

 

 

 

gm me iwrz__lrz_i§s_;l ig_*__i = id g _`y_*; 1 1 ~ am § pit
aaa ~:‘ : as
- Enter 0 and the hours Will be calculated for you when you click the "Sa».-‘e” button. more info
Léa-eTrpa: segal '
Comp Time s> Comp Time-State
Leave Type:COlle-ST
Lea\.-'e must comply with Ti“~l'lUl System Policy 31,61,'02 and 31,01,69
TAivlLllS policy does net require a description _
De~°criptien: 15 _ zip v
tier Qeaifraa= t rare ‘f-f situs event rail ‘ f " samuel tests tsi

 

 

15. Also - the hour by hour schedule that you submitted to me at the "September Review
lVieeting”, there was no discussion of the buildings already assigned and sent to me October 1,
2015, who has been contacted, what l already had scheduled or even a discussion about what it
takes to inspect and submit the inspection via FireHouse to you. For these reasons the hour by
hour schedule is unrealistic and l view it as an attempt of EHS as more retaliation, by adding
more stress to an already stressful, unorganized, ill prepared work environment. Especially
since during the sixteen previous years that l have performed Fire & Life Safety inspections of
the TAMU campus buildings, l have never been scheduled hour by hour specifics by anyone. if
you were to actually look at previous years' evaluations for me - my work performance and
quality of work have always been exceeds expectations Problems began as FireHouse and the
iPad were introduced. And l have attempted many times to explain and list the issues about

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 56 of 67

4:17-Cv-03877

that, to no avail. lt is my perception that TAiVlU EHS is doing what it can to create a hostile work
environment for me by not supplying a quality inspection program, by relocating me to an
interior office desk after 15 years by a window, so l would have to get rid of my plants, (The
corner there is currently completely vacant.) by changing my title and position without notice or
documentation, by increasing the inspection load, by punishing me for using my approved
vacation time. and creating an hour by hour schedule that is not functional given the actual job.

 

 

 

 

September 1919/91 to May 2015: d §j_

l
l
l
\
l _

 

 

 

 

 

Attached are examples of the FLS inspection assignments for September from 2005 to 2015 so you can
see the difference. There is more to the job than inspecting a building room by room, roof to basement
and the exterior. There is updating contact information and actually contacting the proctor, reading and
replying to emai|s, answering and returning phone calls, downloading/syncing photos of the inspections
to the PC and to the iPad for FireHouse, sometimes it is re-entering reports into FireHouse, sending the
reports to you, getting the reports back and sending them to the building proctor, forwarding other
safety issues as noticed to the appropriate person at EHS, general meetings and the communication that
goes along in-between ali of this, Because of all the assorted items that go along with being at work, l
went ahead and created my own evaluation using that 717 Manager Notes from TAi\/iU HR - it is more
factual than what seems to be being kept track of so far.

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 57 of 67
4:17-cv-O3877

Also, as l inspected 0386 Jack E. Brown, | noticed that the emergency eyewash stations were last
inspected 2012. When l emai|ed and asked you about who is responsible for inspecting the eyewash
stations, you replied that EHS inspects the emergency eyewash stations.

How is EHS refusing to let me use my vacation time not retaliation - when clearly there are other
situations currently at EHS that are much further behind schedule than what l was assigned while going
through the departmental ”restructure”, hostile work environment, relocation, repositioning situation?
Because l know of no other employee at EHS that has ever been told or is currently being punished
besides me for being ”be-' d schedule”. There is much more going on than just ”my schedule" effecting
the moral of Environm '~ ealth & Safety.

 

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 58 of 67

 

 

 

 

w |"N'i?iif§zly cm

Comm l nts:

". W .k~“n")\ vf'(§l)'\:xr}.l:kov`\ \u{;\_'> up[L\_d “;{| \C,.--\£,`) c
` 'j\¢\g ~'=.1;\5»\ r_'>¢_u;;.»-\dt \{) re goi§kOLt-\¢-""\ UJ O- 5 175\"0,.13¢

chan` Y`\_( 0\ "`)\{L l) (=_'y\_»_\\'\.b\(.)\€l_ J“ l. LLl'\C.` LL'\.U 0 `

liaer a€ ZE§” !EM'E” Lirai .. l UWQ U… wm sat m

» " _ Giokl. SL\iwf?\ (;Li.q,b.
l 4. Would you recommend this mining to your colleaguoo? raises mr
' f Dei'milely

 
 
  
   

 

 

 

Probab~ly
Wliiat irs Y®iititr E®CITIOM? ~ wear
_ probably nol
t ___ _____!>Mr£i_,___ -_1_, _ _s.r_._.
5. Commnr\l:s: l L£\Ctr`i\.t t,'~ _ ¢‘\ Lri'l 115 .i'_’l 'ft'@irv \ ‘
~‘~:vr::.haveanex;tsu:a:egy;com W l h l {\ m w f z W
', ..' ¢\. ' _ ._`é »“/\_~~c'_.l.
You ,H.Ava‘ao seconost.,.c.oi. ifi ith 1 l <`i' ~ “ \ t_l'
` b > ` -i"\n liv'v‘)"~~\i ¢i;ir.>'n\.li l } / l r'.'[(_' l\\¢ki'/“'EL) /;lr\‘l
m jeff .
y 4 ~ {

 

 

\~v j * __c_j;¢ 'W~J\'_ ~\"¢:l l`. MMH' b ___UWBND'W

.luly 21, 2010, KammeO began giving the Carrlpus FIRE SAFETY Presenta
Sharing Her Experience of DA|E_ING 911 the Week They MOVED lN= She was GLAD She KNE

 

 

 

 

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 59 of 67
11/23/2015 emaii-11-2czo1socioberReviewueeungAudio 4.17_CV_03877

s j g
4 _ j ,
G ` y - a l i Kamme 0 <bestillandknow.kammeo@gmail.com>

tr,-t magic

  

 

11-20-2015 October Review Meeting Audio

1 message

 

KameO <bestillandknow. kammeo@gmail.com> Fui, _E‘¥lé)u gill @©’ll§ eli @:`@l??. rel

 

BOY oh BOY... "October Review iVleeting" today 930-1040 is a DOOZEY... lt's just over an hour...ALL of it is
interesting

Swati was the MOST upset i have ever seen or heard Her be... Loud, standing over Her desk, pointing her finger
at Nle... John Fields was there as witnessl QUlET like a SiLENT-RECORDER-MOUSE. l know He records
things because He has past history via other EHS situations...And TODAY as l walked up to the meeting He
was facing His phone, basically setting it to record. l didn't bother saying anything = l don't have anything to
hide.

THIS meeting says just about it ALL. OlVlG.

l'm emotionally SPENT today... As l listen to this meeting, deciding if You should bother listening`to it...l'm just
like, "Daym...what a disaster the EHS situation is and has been.“ lVlakes Me feel very SAD... Why couldn't
TAMU EHS & HR have been "professional" all these YEARS?? WHAT made it impossible to actually train &
include lVlE? Why wasn't l allowed to learn & perform the job??? Why have my complaints about the
discrimination, the being left out, been ignored for so many years?? lt's like TAMU doesn't WANT to know that
l'm intelligent, that l can leam, that l'm talented...??? TAiV|U would rather hire & promote younger MEN and
submissive indian decent females...? A degree from a University is NO Guarantee that whoever is actually
management maten'al..l A job is ajob... l deserved to be allowed the opportunities to learn and do the JOB.

l hope You make time to hear this.. lt's basically a verbal version of the situations and things l have been
explaining in writing all summer long...

ko
i 11-20-2015 Review Meeting.m4a

https://drive.google.com/file/d/OB-CwKxn6l\/l l rOOFhSNVJyaW1 fYWc/view?usp=sharing

Kamme O v. TEXAS A&l\/l UN|VERS|TY 4:17-cv-03877

TAMU EHS Supervisor SWATl KALE stood, beating her list on the deskl yelling at KammeO. (seated too close to the desk to be able to leave)
V\htness EHS Supervisor JOHN R. FlELDS did nothing, said nothing 11-20-2015.

11-10-2015 Kamme 0 submitted a written COMPLAlNT to TAlVlU PPRl Proof of RETAL|AT|ON:Eyewash station inspections YEARS BEH|ND,
while the men that inspected theml that also were supervised by SWATl KALE were not suspended from using vacation.

EEOC 310-2015-01426 submitted by Kamme O 06-18-2015.

https:l/mall.google.com/mail/u/Ol?ui=2&ik=560f57ce4d&vie~=pi&Search=sent&th=151269006409e96a&sim|=15126b445672d274 1l1

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 60 of 67

4:17-cv-03877

From: 0l igame f
To: Y r r` ~'/

Bcc= _bklau@aststi_mmm! ppg
subject= Mediation? /"`D z ‘ l Fr/\/it)

Date: Friday, December 04, 2015 9:34:27 AM

 

Thought l would ask you...

The communication between Swati Kale and l seems to at a disadvantage - interpretation,
restructure stress, lack of understanding/awareness
Does TAl\/iU l-lR provide mediation between employee & supervisor? How to go about having
someone impartial?

The 11- 20- 2015 October Review meeting was very stressed~ Swati seriously appeared to be TRY|NG
to get me to argue/fight back - She accused me of yelling, when she was yelling but l was calm,
assertive yes, but my tone was normal. Swati on the other hand was standing, pointing, and hitting
her fist on her desk over & over.
lust now l received an email from her:

[ ’ '..[ ii r: ie..',~ir"§m_s sss ssi w q¢ i§A/\/\ WIL
iii kale_. bi'va_ti is ®{L 1b ii ;OOAM

Meeting today 315.11'5~00' \j\l l”l`/\l§§$@
/\/ia\ahi*é -

Tn rJ, §§a_m`me`

Kamme 0,

l would like to meet with you at 11.-am today in my office, g @A\/S

iri
Thanks, pl \j\iD@\L/l \j\i O(LKL_
Swati W [/
Swati Kale I OS&H inspector Supervisor (lé§§ / /‘,{lé
Environmentai Heaith and Safety l Texas A&N_l University Qq/O§| _

4472 mmu l cartage station Tx 77343- 4472

h: f 9 348 _@_d »
p 9?9 845 706’7 l ax: 79.845.1 I swa‘l;i 17 tamu e 66 \\{é ‘:( DH’UJV

ith Tii'n"e for Texas A&Mj Wl
il w WW

And to tell you the truth -i arn afraid to go in there. Of course l replied that l would be there and l
asked ”Regarding?"

.|ohn Fields was witness to that 11/20 meeting. l submitted a complaint, you know already.

Uncertain other than remaining calm as possible what l can do??

Given the recent notice of the ”Anonymous” complaint this week about ”i\/ie” - seems Swati'was
attempting to pick a fight to HAVE something to file a complaint about. l have kept quiet about that
complaint notice on purpose.

l'm glad John Fields was in that 11/20 meeting - but it would certainly be better if the witness were
not related to EHS directly.

 

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 61 of 67

4:17-cV-03877

And other than the luna 30th meeting with Swati - every meeting with her since that has either had
Christina Robertson or John Fields in there.
is to say, l feel outnumbered over here.

l\/lediation would be helpful with Swati & l, as the situation feels more & more tense.

Suggestions?
Thanks,
KO

Kamme O

1111 Research Parkway, NlS 4472l College Station, Texas 77843
Environmental Health and Safety | Texas A&M University

ph: 979.862.4040 | fax: 979.845.1348| kgmmeo@tamu.gdu

Mam._ed_u

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 62 of 67

4:17-cv-03877

HUMAN RESOURCES

  

January 5, 2016

(.

iiiiEiinoRAi~iouiiii , /{Da)°§` 01 iv
iiri ii»"”~

TO: Janelie Ramlrez
interim Vice Presldent for Human sources

FROM: ' Dr. Anna Satterfleld _
Director
Employee Support Services

SUBJECT: Request for Approval of investigation Extension‘

Ms. Kamme O, Occupationai Safety and Health lnsector ill for Environmental Health and
Safety. filed a series of formal complaints on ‘@af¢ gaiqu flight an _[i+b)yz§m_€agr iji'_@a '/' beat in
accordance with System Regulati‘on 08.01.01 - Ci`vli Rights Compi‘iance. Due to the fact that
these complaints cited additional allegations of retaliation related to previously completed
complaint investigations the allegations are being investigated together. Regulatton 08.01.01
currently allows time for the investigating authority to evaluate the allegation:-;l then 30 business
days to conduct an official investigation and provide a draft report of findings to the Office of
Generai Counsel for review. As circumstances dictate, it also allows for an investigation
extension upon approval from the human resources officer.

  

Due to the number of allegations involvedl the availability of witnesses, the recent holiday break,
and the volume of formal complaints currently in progress, we are requesting an extension of up
to 15 business days to complete our investigation and finalize the investigation report

if you should have any questions, please contact me at annas@tarriu.edu or 862-3331.

. Copies: '/_`Kammeo
Swati Kale
Brad Urbanczyk
Christina Robertson
Christopher Meyer

   

©@iivij§il§t°itti il@b?':l@i=?.!@‘il@?` Evidence of Hostile Work Environment

*lncludes the 1999 EXlT interiview of the list of TAMU Management

that was supposed to have gotten a copy & did not. _

And how EHS is instructing employees not to communicate with KammeO
Ganeral Services Complax, Suite 1201

r u ’ ~ ' '
Ei;geAg/liaiion, Tx nara-1255 ‘ii`t==il©=r’il@'ii§: Vacation Retaliation,

*Eyewash Shower inspections YEARS BEHlND, the men are not

T°" 979'862'3331 Fax 979'862'3610 suspended from using their vacation time.

hmoiicy@iamu.eclu
hilp:llempioyees.lamu.edu

 

 

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 63 of 67

4:17-CV-03877

Kamme 0
3503 Winding Road Frustrated by years of being excluded at TAMU EHS,
Heame' Tean 77859 this is the coverletter that l included with the job application
March 9, 2013 to document my perceptions of what TAMU continued to ignore.
The month after this - Asst EHS Director CHR|ST|NA ROBERTSON
started creating vague issues against me about every 3 months.
Tean A&M University And JAMES RA|NER tried to find faults with my work. _ _
Environmental Health & Safety R|CHARD FEGAN seemed to run interference often - before he left in
Fire & Life Safety 2014, he said, "lf l were you, l would find a job some place else.“

1111 Research Parkway
College Station, Texas 77843-4472

To whom it may concern:

Well, here we are ”again”. This is the first time l've applied for the position currently titled ”Environmenta| Safety Assistant
Manager” - formally replacing the position titled ”Environmenta| Safety Supervisor” that l previously applied for three separate
times over the past five or six years and only just received an interview for the position prior to the it being cancelled, reconfigured
and renamed to this current offering of ”Environmental Safety Assistant Manager”.

l am applying yet again, even though l honestly feel like if l were wanted/appreciated as a thirteen+ year employee here at
EHSD, | would have been included more over the years on the acceptance tests, the plan reviews and any other training that would
have helped me become a more useful employee. l certainly have made it known that l am and have been interested.

l've asked, | applied. l've waited. l've been passed over, passed by and basically ignored compared to the employees that have been
hired after me that somehow eventually wind up as my supervisor. That's occurred twice. And the second time, l had eleven years'
experience inspecting the residence halls and he hadn’t been on one residence hall inspection yet? And while l can very much
appreciate him as either a supervisor or a coworker, l recently have become aware that he has been promoted again without having
to interview for the position. Whereas, l'm lucky if l even have had the courtesy of an interview for a position that i apply for here at
EHSD; that didn't stop .lames Rainer for asking me to share my study notes for the certifications that | do have to the person _lM
for the Construction Supervisor position did not have. What is that?! He got thejob and i didn't even get an interview?

 

lt's an easy assumption that since l'm the only employee left in the Fire Safety section that's been here longer than three or
four years, and l was not even given the courtesy of an interview the first two times the construction position was originally opened
- that l am left out, not wanted, for whatever reason(s). Because it has been pretty apparent over the thirteen years that l have
worked for EHSD that this ofhce encourgges. trains and promotes some people while basically doing the bare minimum for others. |
may not have an Aggie Ring, be a retired fireman, play college baseball or footbal|, but l've been a loyal employee of this campus for
over twenty years and somehow l think that should count for something more than what | have been experiencing here at EHSD. (l
received a promotion every year until l came to work at EHSD.) So, l will sure apply again and give it shot just to see if by chance my
assumption is incorrect and that l will be introduced, trained, taught, included and made use of more in the future here, and hope
that l would actually be given the opportunity for growth and advancement, even if l do have to practically demand it?

i am familiar with plenty, l could learn the rest. l doubt seriously anyone begins a new position knowing everything there is
to know ahead of time. l am tired of being treated like l cannot learn or be more useful with the acceptance tests, and plan reviews.
James Rainer cannot possibly continue to do everything indefinitely - l do not understand why he has not made more use of me
over the years, because l'm the one that's been loyal the longest. He hires these guys, they get their training and they leave, while l
watch, occasionally ask to be included and wind up basically ignored. l'm tired of greeting & breaking in the new employees only to
watch them wind up promoted over me.

l seriously deserve the opportunity to learn and be the new Environmental Safety Assistant Manz_ige_r.
Just think, if i had been given and interview years ago and actually seriously been considered for the construction position, l would
be GREAT at it by now... and i'd still be happily working here as a TAMU employee. lfl can learn to design & build cabinets, when |
didn't even know drills had reverse -l can certainly learn anything else. l wish someone would actually clue in about that. Not
everyone chooses the college route. l\/|anagers are not BORN managers, someone had to actually believe in, encourage them and
offer the opportunity.

Sincerely,
Kamme O

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 64 of 67

4:17-cv-03877

7-10-2013 Wednesday
To: Richard Fegan, rfegan@tamu.edu

Today, Robert ”had a talk” with Babette again about ”Me" and how ”They are watching Her” and how
”He doesn't want Herjob affected by whatever They are going to do about Me". And that He saw Her go
down to My office and talk with Me and that She shouldn't be seen associating with lVie at the office,
"because THEY are watching ME.” That it is OKAY if l stop by HER OFFICE but She shouldn't be seen
coming to lVly office. ‘

Then He goes on about ”Well, Richard doesn't want to do anything - but They are going to insist He do
something, especially with Him getting that promotion."

This has been going on for years, Robert asking Babette where l am.? Did She SEE that l didn't come in .
until 9:30am? Or whatever? And She'll explain that | had a doctor appointment or a lab appointment
and that She is SURE that YOU know about what l am doing. And via Her, He’l| say, ”Oh well, l wasjust
wondering BECAUSE THEY ARE WATCH|NG HER.”

l've thought about saying something sooner but didn't want to stir the pot - and l just let it go. Today at
lunch, l asked Babette how She felt about Me finding out WHAT THE DEAL lS, after She told Me it
happened again today? And She said She is to the point that if l want to take to HR, She will gladly be
witness to how long & how often Robert White has been ”warning Her about Me" and the ”They are
watching Her" threats.

So, here l am emailing You, asking:

WHO is watching Me? And WHAT is the deal???
|'d really like to know, because whatever has been going on feels like indirect harassment via My best
friend.

This year,| during Babette's employee evaluation, at the end He brought up ”being seen with Me" again
and how it doesn't look good for Herjob - that He's ”just warning Her” And He went on to tell Her what
He TH|NKS l'm doing or not doing at the office..?????? WHAT IS THAT?

|f l'm being tracked, watched, documented about anything l would sure like to
know so that l can change or conform so that this STOPS and Everyone is
happy/satisfied.

And as far as stopping by Babette's office on the way to get coffee in the morning - most of the time l
just stick iVly head in and wave ”good morning” because |'VE KNOWN for years that Robert watches Me
come & go. And most of the time Babette will meet Me in the break room and We both get whatever
We are there for and then go back to Our desks. And quite often l've noticed that Robert shows up in
the break room also, right after She & l walk in there. ls He following Us? l don't know, l'm not hiding
anything, so l've never really cared and it |S ”the break room".

ijust figure He is trying to rush Us along and so We do end whatever the conversation is, or even include
Him in it and then continue on to Our desks.

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 65 of 67

4:1 7-cv-03877

May 10"', When l was home on vacation, Robert called My personal cell phone looking for Babette -
asked l\/le ifl knew why She didn't fill out Her vacation?

l was asleep. l told Him, ”l don't know, She's in Phoenix.” He wanted to know ifl could contact Her and
tell Her that She needs to submit Her time sheet? So, l woke up and texted Her - but She was on the
plane? And then l just let it go because it's not iVly job to track Her vacation paperwork.

l personally think if an employee is on vacation, the office ought not contact them unless it is an actual
emergency; time-sheets can wait. And l do not work for Him, so WH¥ did He call lVle to find Her, when
EACH of Us were on VACAT|ON?

l would appreciate it if You could confirm that l'm NOT being watched and that ifl am, Someone actually
let Me know to My face What the deal is, so that this situation may be remedied as soon as possible.

Sincerely,
KammeO

Kamme Ol Safety Specialist
Environmental Health and Safety | Texas A&M University
ph: 979.862.4040 | fax: 979.845.1348| kammeo@tamu.edu

www.tamu.edu

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 66 of 67

e..e.e..eee %l/ exam rio aug ima-mag fo#/\/ g

From: "0, Kamme" <kammgg@tgmutgln>
To: "Salsman, John M" <Mm_ag@tamjigdg> /\/D WLV/
Sent: Mon, September 13, 2010 9:28:49 AM Z ' " -

Subject: just cur'lous..?

 
   
 
 
 
   
   
  
  
 
 
  

Good Morning Johu,
'l'hanks for the Admin leave. I'm curious what it is based on considering I`ve been TAMU for 18 years, EHS for ll and I got S hours. . .. And Cary got 24 hours and he

\tht is lt l"m not doing that gets Me overlooked for intervle\vs, training and such things?
I am and have been interested S.: say so regularlyl

Like the position I applied for a couple years ago (twice actually). I didn’t get an interview for - James came in and said to Me it was "because I didn"t have enough CO.t
the US Dept of Labor Certificate for Carpentry on my \\'all, he changed the subject.) While he didn’t think I was worthy for an interview. James did happen to ask Me for
certification test 'l`O GIVE 'l`O NATHAN since he didn’t have the certification when he was hired. (I thought that was rude of James really. but I obliged because it"s a t

I have plenty of vacation time renlly.... I’m just seriously wondering Why life is the way it appears sometimes or ifl nm not seeing the entire picture?

James turned Me down for training to Vegas this year because I got a "Doesn’t meet expectations” on the time thing - but I DID get TWO EXCEEDS expectations fo
appeared to Me that he WAITED until late May to actually make the Vegas NFPA reservations for the FLRST WEEK Ol-` JUNE... as if he was waiting for the employee
see how NOT TRAINING Mc was justified. I didn't say anything to you at the time because I figured it would just look like I was atutoyed about it being a Vegas thing
worked out to be a good thing not to go then. lt did feel personal to Me tho, since I was the one all these past years forwarding the NFPA training in VEGAS to James ov
getting HIM to go. .. I have been and can go to Vegas on My own. . not that I wouldn't have enjoyed tlte trip. James DID send Car_v..... and if My 8:30 punctuality it
5 o’clock to STOP and GET OU`I` OF HERE attitude nn issuc'.’ '

And the clock thing - EHS gets more than the S hours... because I am not one to watch a clock and IUMP out the door on the minute. I am generally where I neeil'to b
ever read the exact same time - so to ME, watching minutes is a control issue for some people. I have MANY positive qualities that far outweigh that one thing, in M

focused up`on.

I'm good at many different things, and I’ve generally always made myself available for the on-call gas response. the drawing of the cartoons for a few years. lam honest,
People l meet seem to look forward to seeing Me again the next year, even if I am asking them to change something

All this has been on My mind for a few years, I keep thinking it'll change each time I watch someone get hired & leave for a position that I applied for and didn't get
overlooked. underestimated and underappreciated.

So yeah. S hours verses 24 feels like that too. . even tho I generally make a point NOT to compare numbers. Ijust have to ask. “Whnt is it that I am not?”

Sincerely, _
`KammeO

ef":"

Case 4:17-cv-03877 Document 10 Filed in TXSD on 02/01/18 Page 67 of 67

DlVlSlON OF FlNANCE AND ADlVllNlSTRAT|ON

ENleoNMENTAL HEALTH & sAFETY }'Ta'. TEXAS A&M

U`N`IVE.RSITY

 

January 29, 2016
Kamme_ O _
iii":.¥!,"¥;';‘§§;ag 4:17-cv-03877
Dear Kamme,

This letter is to inform you of the decision to terminate your employment with Texas A&l\/l
University effective at the close of business on February 12, 2016. You Will not return to your
assigned position during this two Week notice period.

This decision is based on your unacceptable job performance Any future applications for
employment with Texas A&N| University will not be forwarded for review for a period of 5
years. lf you wish to appeal your dismissa|, the appeal must be made in accordance With the
provisions of System Regu|ation 32.01.02, Complaint and Appeal Process for Nonfacu/ty
Employees. However, an appeal alleging discrimination, sexual harassment and/or related
retaliation must be filed in accordance With System Regulation 08.01.01, Civi/ Rights
Comp/iance. (Copies enclosed). Any questions regarding the appeal process should be
addressed to the Policy and Practice Review office at 979-862-3331.

Federal 'and State laws require Texas A&l\/l University to offer continuation of your
health/dental coverage You will be mailed a`COBRA form (Health/Denta| Coverage
Continuation Form) short|y. Any questions regarding y_our COBRA options should be
addressed to Human Resources Benefit Services at 979-862-1718.

Up`on receipt of this letter, you are required to turn in all keys assigned to you, any University
property in your possession,'and your Texas A&lV| Staff identification card.

Sincerely,

 

 

age Whaa£aaam
Swati Kale Christina _Robertson
OS&H inspector Supervisor Director

Attachments: System Regu|ation 32.01.02
System Regu|ation 08.01.01

Cc w/out attachments: Brad Urbanczyk
Chris lVleyer
Employee Re|ations
Personne| Fi|e

1111 Research Parkway
4472 TAMU
College Station, TX 77843

Tei. 979.845.2132 Fax. 979.845.1348
https://ehsd.tamu.edu

